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 NOT FOR PUBLICATION


                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



 CHIESI USA, INC., et al.,

                                                        Civil Action No. 19-18756 (ZNQ) (LHG)
                         Plaintiffs,
                                                                        OPINION
                         v.
                                                                (Under Temporary Seal)
 AUROBINDO PHARMA USA, INC., et al.,

                         Defendants.


 QURAISHI, District Judge

        This Opinion constitutes the Court’s findings of fact and conclusions of law pursuant to

 Federal Rule of Civil Procedure 52.

 I.     INTRODUCTION

        Plaintiffs Chiesi USA, Inc. and Chiesi Farmaceutici S.P.A. (“Plaintiffs” or “Chiesi”) bring

 this suit for patent infringement against Defendants Aurobindo Pharma USA, Inc. and Aurobindo

 Pharma Ltd. (“Defendants” or “Aurobindo”). Plaintiffs own United States Patent No. 8,658,676

 (“the ‘676 patent”), Patent No. 10,010,537 (“the ‘537 patent”), and Patent No. 11,103,490 (“the

 ‘490’ patent,” collectively “the Patents in Suit”), which are listed in the Orange Book as covering

 Plaintiffs’ clevidipine injectable emulsions, marketed under the brand name Cleviprex®. The

 Amended Complaint alleges that Defendants have infringed the Patents in Suit by filing

 Abbreviated New Drug Application (“ANDA”) No. 213280 with the United States Food and Drug

 Administration.




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        The Court held a bench trial for 7 days, beginning on January 10, 2022, and concluding on

 January 20, 2022. The parties presented closing arguments and submitted proposed findings of

 fact and conclusions of law in April 2022.

 II.    JURISDICTION

        This Court has subject matter jurisdiction over this action, including all claims and

 counterclaims asserted herein, pursuant to 28 U.S.C. §§ 1331, 1338(a), 2201 and 2202. Venue is

 proper in this Judicial District pursuant to 28 U.S.C. §§ 1391 and 1400(b).

 III.   THE PARTIES

        Plaintiff and Counterclaim Defendant Chiesi USA, Inc. (“Chiesi USA”) is a corporation

 organized and existing under the laws of the state of Delaware, having its principal place of

 business in Cary, North Carolina 27518. (Final Pretrial Order, “FPO” ¶ 1) (ECF No. 298).

 Plaintiff Chiesi Farmaceutici S.p.A. (“Chiesi S.p.A.”) (together with Chiesi USA, “Chiesi” or

 “Plaintiffs”) is a corporation organized and existing under the laws of Italy, having its principal

 place of business in Parma, Italy. (FPO ¶ 2). Plaintiff Chiesi USA is a wholly owned subsidiary

 of Plaintiff Chiesi S.p.A. (FPO ¶ 3).

        Defendant and Counterclaim Plaintiff Aurobindo Pharma USA, Inc. (“Aurobindo USA”)

 is a corporation organized and existing under the laws of Delaware, having a principal place of

 business in East Windsor, New Jersey.         (FPO ¶ 4).     Defendant Aurobindo Pharma Ltd.

 (“Aurobindo Ltd.”) (together with Aurobindo USA, “Aurobindo” or “Defendants”) is an Indian

 corporation having a principal place of business in Andhra Pradesh, India. (FPO ¶ 7). Defendant

 Aurobindo USA is a wholly owned subsidiary of Defendant Aurobindo Ltd. (FPO ¶ 8).




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 IV.      ISSUES FOR TRIAL

       1. Have Plaintiffs proven by a preponderance of the evidence that Defendants have infringed

          claims 1 and/or 8 of the ‘676 patent, claim 7 of the ‘537 patent, and/or claim 6 the ‘490

          patent?

       2. Have Defendants proven by clear and convincing evidence that claims 1–8 of the ‘676

          patent, claims 1, 2, 7 and 8 of the ‘537 patent, and/or claim 6 the ‘490 patent are invalid as

          obvious pursuant to 35 U.S.C. § 103?

       3. Have Defendants proven by clear and convincing evidence that the ‘676 patent, the ‘537

          patent, and the ‘490’ patent are unenforceable?

 V.       DISCUSSION

          The findings of fact herein are based on the Court’s observations and credibility

 determinations of the witnesses who testified at trial and a thorough review of the evidence

 admitted at trial. While the Court has reviewed all of the evidence presented, given the length of

 the trial record, the Court includes references only to the evidence most pertinent to its analysis.

 For the reasons set forth below, the Court finds that (1) Defendants’ ANDA literally infringes the

 claims of the Patents in Suit asserted at trial, (2) the Patents in Suit are not invalid, and (3) the

 Patents in Suit are not unenforceable.

          A.        Background of the Case

          The present action is for patent infringement under 35 U.S.C. §§ 271(e)(2) and 271(a) and

 under the Hatch-Waxman Act, codified in part at 21 U.S.C. § 355(j). (FPO ¶ 80). Plaintiff Chiesi

 Farmaceutici S.p.A. is the current owner and assignee of the Patents in Suit. (FPO ¶¶ 12–13).

 Pursuant to 21 U.S.C. § 355(b)(1), the Patents in Suit are listed in the United States Food and Drug

 Administration (“FDA”) publication titled Approved Drug Products with Therapeutic Equivalence



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 Evaluations (“the Orange Book”) as covering Cleviprex® (clevidipine) injectable emulsions (25

 mg/50 mL and 50 mg/100 mL). (FPO ¶ 15).

          Plaintiff Chiesi USA, Inc. is the owner of FDA-approved New Drug Application (“NDA”)

 No. 022156 for clevidipine injectable emulsions (25 mg/50 mL and 50 mg/100 mL), which are

 prescribed and sold under the trademark Cleviprex®. (FPO ¶ 53). Cleviprex is approved by the

 FDA for the reduction of blood pressure when oral therapy is either not feasible or not desirable.

 (FPO ¶ 57).

          The present action arises from the submission of ANDA No. 213280 by Defendants

 Aurobindo Pharma USA, Inc. and Aurobindo Pharma Ltd.’s (together, “Aurobindo”) seeking

 approval from the FDA to commercially manufacture and market generic versions of Cleviprex

 (clevidipine) injectable emulsions (25 mg/50 mL and 50 mg/100 mL) (the “proposed products”)

 before the expiration of the Patents-in-Suit. (FPO ¶ 78, 81). The proposed products contain

 clevidipine butyrate, EDTA, oleic acid, soybean oil, glycerin, egg phospholipids, and sodium

 hydroxide, which is used to adjust the formulation’s pH in the range of 6–8.8. (FPO ¶ 78).

          Defendants counterclaim for a declaratory judgment that the Patents in Suit are not

 infringed (Counterclaim Count I), that they are invalid as obvious (Counterclaim Count II), are

 unenforceable based on inequitable conduct before the United States Patent and Trademark Office

 (Counterclaim Count III), and that they are unenforceable based on unclean hands (Counterclaim

 Count IV). 1




 1
   Defendants also moved to add certain antitrust counterclaims and to bifurcate, sever, and stay those counterclaims
 until after resolution of the case’s principal issues of infringement, invalidity, and enforceability. See Defendants’
 Motion for Leave to File Amended Counterclaims Setting Forth Federal and State Antitrust Counterclaims, Subject
 to the Condition that Those Counterclaims Be Stayed and Bifurcated filed on October 8, 2021 (ECF 158). The Court
 severed and stayed the issue of whether to permit Defendants to add their antitrust counterclaims until after the
 resolution of the principal issues. See Letter Order entered December 6, 2021 (ECF No. 188).

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          At trial, Plaintiffs asserted claims 1 and 8 of the ʼ676 Patent, claim 7 of the ʼ537 Patent,

 and claim 6 of the ʼ490 Patent against Aurobindo. (Trial Tr. at 345:17-24 (Little); Trial Tr. at

 1228:5–19). Each of the Patents in Suit is presently scheduled to expire on October 10, 2031.

 (FPO ¶ 16).       The patents are each titled “Clevidipine Emulsion Formulations Containing

 Antimicrobial Agents” and their specifications are substantially identical. (FPO ¶¶ 17,19).

 Rajeshwar Motheram and Gregory Charles Williams are listed as the named inventors on all three

 patents. (FPO ¶ 18).

          B.       Background of the Invention

          The pharmaceutical formulations claimed in the Patents in Suit cover Plaintiffs’ Improved

 Cleviprex product, 2 which contains clevidipine along with EDTA as an active antimicrobial agent

 and oleic acid as a stabilizing co-emulsifier. (Tr. at 107:7-22 (Motheram)); see also, e.g., PTX-003

 at claims; PTX-048.8). Clevidipine is a calcium channel blocker that is administered intravenously

 to treat high blood pressure. (Trial Tr. at 109:3-8 (Motheram)). Intravenous administration rather

 than oral therapy is preferred for the treatment of high blood pressure when oral delivery is not

 feasible or desirable, for example, in critically ill patients who are in an intensive care unit or

 undergoing surgery, such as a cardiac surgery where the patient may need blood pressure reduction

 or control. (Trial Tr. at 74:22-75:6 (Zwinski)). Improved Cleviprex has a longer period over which

 its vials may be used, i.e., “hang time” (12 hours) compared to the previous version, Original

 Cleviprex (4 hours). (Trial Tr. at 84:3–85:12 (Zwinski); PTX-048.3; PTX.053.3). Improved

 Cleviprex was approved by the FDA in 2011. (Trial Tr. at 107:23–108:1 (Motheram)).




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   The Court refers to the current version of the brand product at issue as “Improved Cleviprex” to distinguish it from
 a previous version that, as set forth below, the Court refers to as “Original Cleviprex.”

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        C.      Person of Ordinary Skill in the Art

        Plaintiffs’ expert, Dr. Little, opined that a POSA for the claimed inventions “is someone

 who has at least the equivalent of a Bachelor of Science degree in pharmaceutical sciences or

 chemical engineering, or an equivalent level of education or training, and several years of

 experience in the field of drug delivery technology or a similar field.” (Trial Tr. at 342:15–25

 (Little)). Aurobindo’s infringement expert, Dr. Tarantino, offered a slightly different definition of

 the POSA, asserting that one skilled in the art has “[a] college degree in an appropriate field such

 as pharmacy, pharmaceutical science or chemistry, and at least four years of work experience in

 the field of drug formulations, including experience with emulsion and sterile formulation.” (Trial

 Tr. 596:3–13 (Tarantino)). Aurobindo’s validity expert, Dr. Crowley, offered the same definition

 as Dr. Tarantino. (Trial Tr. 1236:11–1237:1 (Crowley)). Dr. Tarantino opined that he disagreed

 with Dr. Little’s definition of the POSA because “chemical engineering,” in his opinion, does not

 “cover pharmaceutical sciences.” (Trial Tr. 597:11-599:7 (Tarantino)). Dr. Tarantino did not,

 however, offer any support for his opinion that chemical engineers cannot or do not work in

 pharmaceutical sciences. (Trial Tr. at 597:11–599:7 (Tarantino)). Dr. Little asserted that chemical

 engineers routinely work in the pharmaceutical sciences, including his own students and his own

 Ph.D. advisor. (Trial Tr. at 344:4–19 (Little)). Dr. Crowley did not offer any similar criticism or

 discuss chemical engineering at all, nor did he testify that he disagreed with Dr. Little’s proposed

 definition of a POSA.

        The parties’ proposed POSA definitions are therefore largely in agreement. The Court

 resolves the parties’ dispute as to whether a POSA’s degree could include one for chemical

 engineering in favor of Chiesi’s position. In reaching its conclusion, the Court credits Dr. Little’s

 uncontested testimony that his students and his own advisor have practiced in this field.



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 Accordingly, the Court finds that a POSA would have a Bachelor of Science degree in

 pharmaceutical sciences or chemical engineering, or an equivalent level of education or training,

 and several years of experience in the field of drug delivery technology or a similar field. 3

          D.       Infringement

          In support of its infringement arguments, Chiesi proffered two experts at trial. The first

 was Dr. Matthew DeLisa, Ph.D, the William L. Lewis Professor of Engineering at Cornell

 University’s School of Chemical Biomolecular Engineering and Director of Cornell’s Institute of

 Biotechnology. (Trial Tr. 294:23–296:8 (DeLisa)). Dr. DeLisa was accepted by the Court as an

 expert in the field of microbiology. (Trial Tr. 300:19–301:4). Chiesi’s second expert was Steven

 R. Little, Ph.D., the William Kepler Whiteford Endowed Professor of Chemical Engineering at the

 University of Pittsburgh. He is the chair of the department of chemical engineering and also a

 professor on the faculty of several other departments at the University, including bioengineering

 and pharmaceutical sciences. (Trial Tr. 336:11–16 (Little)). Dr. Little was accepted by the Court

 as an expert in the field of pharmaceutical sciences. (Trial Tr. 341:8–18). In rebuttal, Aurobindo

 proffered one expert: Ralph Tarantino, Ph.D., a pharmaceutical consultant who has been involved

 in the pharmaceutical industry for about 40 years. (Trial Tr. 595:13–22 (Tarantino)). Dr.

 Tarantino, and his company Steritech Solutions, consult in the areas of formulation development,

 technology transfer, manufacturing, and the preparation and evaluation of regulatory submissions.

 (Id.). Dr. Tarantino was accepted by the Court as an expert in the field of pharmaceutics. (Trial

 Tr. 595:17–23).




 3
   The Court also notes that in Aurobindo’s post-trial submission, it takes the position that which POSA definition the
 Court adopts is not dispositive: “[r]egardless of which definition of the level of ordinary skill in the art with regard to
 the patents-in-suit is applied the conclusion is the same.” (Aurobindo Proposed Finding of Fact ¶ 380).

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                           Infringement Law

         Under 35 U.S.C. § 271(e)(2)(A), an ANDA that describes “a drug claimed in a patent”

 constitutes an infringing act. In re Brimonidine Pat. Litig., 643 F.3d 1366, 1377 (Fed. Cir. 2011).

 The “infringement inquiry provoked by an ANDA filing . . . is focused on a comparison of the

 asserted patent against the product that is likely to be sold following ANDA approval.” Alcon

 Rsch. Ltd. v. Barr Labs., Inc., 745 F.3d 1180, 1186 (Fed. Cir. 2014) (internal quotation marks

 omitted). In a bench trial, whether the ANDA infringes is a question of fact. Vanda Pharms. Inc.

 v. W.-Ward Pharms. It’l Ltd., 887 F.3d 1117, 1125 (Fed. Cir. 2018); Alza Corp. v. Mylan Labs.,

 Inc., 464 F.3d 1286, 1289 (Fed. Cir. 2006). The patentee must prove by a preponderance of the

 evidence that every claim limitation found in the patent is also found in the ANDA product, either

 literally or under the doctrine of equivalents. 4 Roche Palo Alto LLC v. Apotex, Inc., 531 F.3d 1372,

 1377 (Fed. Cir. 2008); Warner-Lambert Co. v. Apotex Corp., 316 F.3d 1348, 1366 (Fed. Cir.

 2003). “If any claim limitation is absent . . ., there is no literal infringement as a matter of law.”

 Bayer AG v. Elan Pharm. Rsch. Corp., 212 F.3d 1241, 1247 (Fed. Cir. 2000).

                           The ‘676 Patent: Claim 1

                  Claims 1 and 8 of the ‘676 patent are at issue. Claim 1 is the sole independent

 claim. It recites:

         1. A pharmaceutical formulation comprising

                  (a) an effective amount of clevidipine, or a pharmaceutically
                  acceptable salt or ester,
                  (b) an antimicrobial agent, EDTA, present at about 0.001 to about
                  1.5% w/v,
                  (c) a lipid,
                  (d) an emulsifier,
                  (e) a tonicity modifier, and
                  (f) water

 4
   In this case, Plaintiffs assert only literal infringement; they do not assert infringement under the doctrine of
 equivalents. (See Plaintiffs’ Pretrial Brief § III(A), ECF No. 287 at 7–15.)

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                wherein the formulation is resistant to microbial growth.

 Aurobindo disputes infringement as to only two limitations of claim 1. (FPO ¶¶ 77, 78, 89–92;

 Trial Transcript 561:6–17; PTX-807.9–807.10, 834.16). It denies the proposed product meets

 limitation (b) regarding EDTA.       It also denies the proposed product meets “wherein the

 formulation is resistant to microbial growth.” The Court considers the evidence as to the two

 disputed limitations below. Because the Court can more readily dispose of the latter dispute, it

 first considers Chiesi’s showing as to “resistant to microbial growth.”

                       a)      Wherein clause: “resistant microbial growth”

        Following a Markman proceeding, the Court construed the phrase “resistant to microbial

 growth” to mean “having a reduced propensity for microbial contamination.” (ECF No. 169.) At

 trial, Chiesi elected not to introduce evidence of any microbial testing that it may (or may not )

 have conducted on the proposed product to establish that the product met this limitation. Instead,

 Chiesi cited assertions made by Aurobindo itself (1) in its own proposed package insert that its

 product “inhibit[s] the rate of growth of microorganisms, for up to 12 hours” and, (2) in its

 proposed container and carton labelling that the proposed product “inhibits microbial growth up

 to 12 hours.” (PTX-834.16, 835.3; Trial Tr. 561:3–17.) Chiesi then introduced documents and

 testimony describing antimicrobial effectiveness tests that Aurobindo conducted on batches of its

 own product. This testing showed that the proposed product demonstrated no increase in microbial

 colony count (either bacterial or fungal) over a 12-hour period. (PTX-836.9; Trial Tr. 398:3–

 402:25.)

        Aurobindo declined to stipulate to infringement of this limitation. However, it presented

 no factual or expert evidence at trial to contradict Chiesi’s showing as to the proposed product’s




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 microbial growth inhibition for twelve hours, 5 nor did it address the issue in its post-trial briefing.

 See Defendants’ Proposed Findings of Fact (ECF No. 367).

          On the basis of Chiesi’s unrebutted evidence, the Court concludes that the accused product

 does inhibit microbial growth for up to 12 hours and that this equates to the product “having a

 reduced propensity for microbial contamination.” Accordingly, the Court finds that Plaintiffs have

 met their burden of proof with respect to establishing that the proposed product meets this claim

 limitation.

                            b)        about 0.001 to about 1.5% w/v EDTA

          At Markman, the parties stipulated that the term “about” should be construed to mean

 “approximately.” (ECF No. 169). They also stipulated that the proposed product contains EDTA

 (FPO ¶ 78). Each party separately asserted that the proposed product contains 0.0005% (w/v)

 EDTA. (FPO ¶ 353 of Plaintiffs’ Contested Facts; ¶ 325 of Defendants’ Contested Facts; Trial

 Tr. 357:10–15.) The parties’ dispute is whether a POSA would view the proposed product’s

 0.0005% EDTA as falling within the claimed range. For the reasons set forth below, the Court

 concludes that a POSA would consider the accused 0.0005% to be within the literal range of “about

 0.001 to about 1.5%.”

          The Federal Circuit has held that “when ‘about’ is used as part of a numeric range, it

 “avoids a strict numerical boundary to the specified parameter.’” Cohesive Tech., Inc. v. Waters

 Corp., 543 F.3d 1351, 1368 (Fed. Cir. 2008) (citing Pall Corp. v. Micron Separations, Inc., 66

 F.3d 1211, 1217 (Fed. Cir. 1995)). Extension beyond the range should be limited to what “a person

 having ordinary skill in the art . . . would reasonably consider ‘about . . .’ to encompass.”

 Monsanto Tech. LLC v. E.I. DuPont de Nemours & Co., 878 F.3d 1336, 1342 (Fed. Cir. 2018).


 5
  The Court notes that it barred Defendants from entering certain evidence on this issue at trial when it granted a proper
 motion to preclude filed by Plaintiffs. (ECF No. 317).

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        At trial, Plaintiffs advanced two rationales as to why the claimed EDTA range encompasses

 the proposed product. As part of a “purpose/function” rationale, Plaintiffs cited decisions from

 the Federal Circuit that have held that defining the outer reaches of “about” in a claimed range is

 a matter of claim construction, but “[w]hen the claims are applied to an accused device” for the

 purposes of analyzing infringement, “it is a question of technologic fact whether the accused

 device meets a reasonable meaning of ‘about’ in the particular circumstances.” Modine Mfg. Co.

 v. U.S. Int'l Trade Comm'n, 75 F.3d 1545, 1554 (Fed. Cir. 1996). This Court agrees, that in a case

 like this one where there is no narrowing claim construction based on particular intrinsic-evidence

 statements or actions, the general considerations set forth in Cohesive govern its assessment of

 “about.” Par Pharm. v. Hospira, 835 Fed. App’x. 578, 584 (Fed. Cir. 2020). The extension

 permitted by “about” must be tied to “the purpose of the limitation in the claimed invention—not

 the purpose of the invention itself.” Monsanto Tech., 878 F.3d at 1342.            It also requires

 examination of whether the extension is by a “modest amount,” Conopco, Inc. v. May Dep't Stores

 Co., 46 F.3d 1556, 1562 (Fed. Cir. 1994), considering the “criticality of the [numerical limitation]

 to the invention,” Cohesive, 543 F.3d at 1368, as well as the “technologic and stylistic context” of

 the invention, Pall, 66 F.3d at 1217.

        Here, according to Plaintiffs, a POSA would understand that “about” expands the claimed

 numerical range to some degree, otherwise the term would have no meaning. (Trial Tr. 356:8–13

 (Little)). To determine the degree of that expansion, the POSA would first consider the purpose

 that the EDTA claim limitation serves in the formulation, and then assess whether a value outside

 the expressly stated numeric range would serve the same purpose without affecting its fundamental

 properties. (Trial Tr. 356:14–19 (Little)). In this regard, Plaintiffs presented uncontradicted

 evidence that a POSA would understand, based on the specification and the examples of the Patents



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 in Suit, that the purpose of the EDTA in the patented invention in this case is to limit microbial

 contamination. (Trial Tr. 361:13–363:21 (Little); ‘676 Patent 11:44–12:38.) 6 Plaintiffs also

 established, and Aurobindo did not deny, that the proposed product successfully employs EDTA

 to accomplish the same purpose.                   (Trial Tr. 360:10–361:7; Aurobindo Pharmaceutical

 Development Report (“APDR”) at 8 [PTX-838.10] and Aurobindo Quality Overall Summary at

 19 [PTX-832.19]). Accordingly, the Court finds that the EDTA claim limit recited by the Patents

 in Suit and the EDTA in the proposed product serve the same purpose.

          Plaintiffs also presented evidence that the 0.001% lower limit for EDTA is not critical to

 the invention. Doctor Little testified as to the absence of any indication in the intrinsic record that

 the 0.001% is critical. 7 (Trial Tr. 363:24–364:21). He observed that none of the examples

 disclosed in the Patents in Suit suggest a critical threshold because none of the example

 formulations failed microbial testing. (Id.; see also ‘676 Patent 11:44–12:38). According to Dr.

 Little, the prosecution history was likewise silent as to where the critical lower limit for the

 concentration of EDTA might be found.




 6
   The Court also finds that the purpose of the lower claim limit for EDTA concentration is relatively straightforward:
 it ensures that EDTA appears in a formulation in sufficient quantity to perform its intended function of controlling
 microbial contamination. This can be readily inferred from the disclosure of the Patents in Suit; the inventors varied
 the quantity of EDTA only to test its antimicrobial effectiveness at different levels. See ‘676 Patent 11:46–12:38; Par
 Pharm., 835 Fed. App’x. 578, 584 (Fed. Cir. 2020) (noting, with approval, that the trial court considered not just the
 purpose of the claim limitation at issue, but the purpose of the end of the numerical range at issue.) The purpose of
 the lower end of the claimed EDTA concentration, to the extent it may be relevant, is distinct from its criticality,
 discussed infra.
 7
   The only testimony proffered by Dr. Tarantino regarding criticality was on Chiesi’s cross examination. Doctor
 Tarantino admitted to stating in his claim construction declaration that “a POSA would not find in regard to the lowest
 percentage weight/volume of EDTA in all the asserted claims that such was critical.” (Trial Tr. 654:12-15). In post-
 trial briefing, however, Aurobindo points out that Dr. Tarantino’s statement is taken out of context. In that portion of
 his declaration, he was opining that because FDA had effectively approved intravenous formulations with substantially
 higher levels of EDTA, the lower limit of the claimed range was not critical with respect to potential patient safety
 concerns stemming from exposure to EDTA. (See August 25, 2020 Declaration of Ralph Tarantino, ¶ 80 (ECF No.
 46)). Viewed in its proper context, the Court therefore finds that Dr. Tarantino’s trial testimony elicited by Chiesi
 neither supports nor contradicts Chiesi’s showing as to the criticality of 0.001% EDTA, or lack thereof.


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        Dr. Tarantino contradicted Dr. Little on this point by citing a portion of the ʼ537 Patent file

 history to suggest that a POSA would understand that values outside the expressly stated EDTA

 concentrations in the claimed range are “not useful” in the claimed inventions. (Trial Tr. at

 608:16–609:3). In the portion of the file history on which Dr. Tarantino relies, the inventors do

 state that: “examples of the claimed antimicrobial agent, lipid, emulsifier, and tonicity modifier

 (all of which are art recognized) as well as the amounts useful in the claimed invention are recited

 in paragraphs [0033] to [0037] in the specification.” (PTX-005.203) Dr. Tarantino ignored,

 however, that the “amounts useful in the claimed invention [and] recited in . . . the specification”

 are expressly modified by the term “about.” (See PTX-005.9 (stating that “the amount of the

 antimicrobial agent in the formulation will generally range from about 0.001 to about 1.5% w/v.”)

 (emphasis added). In other words, contrary to Dr. Tarantino’s assertions, the prosecution history

 would not lead a POSA to understand that values below 0.001% w/v EDTA would not be useful

 in the claimed formulations.

        Dr. Little also testified that he had seen no extrinsic evidence showing that the inventors

 had tested formulations with EDTA concentrations below 0.001%. He opined that, based on the

 information available (or perhaps not available in this case), there was nothing extrinsic to suggest

 that the lower limit of 0.001% EDTA was a critical value for microbial effectiveness. Aurobindo

 sought to contradict this point by reference to the testimony of one of the inventors, Dr. Motheram,

 that he conducted experiments below the 0.001% limit. The testimony, however, was limited to

 the following:

                  Q: Now, am I correct when you determined the concentration range
                  for EDTA, you looked for an effect on the lower end and then moved
                  up incrementally. Correct?

                  Motheram: I don’t remember the exact flow, but that seems right.



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                   …

                   Q: So you remember going from the lowest till you could find
                   something, and then that’s where you set your concentration levels.
                   Correct?

                   Motheram: Yes.

 (Trial Tr. 162:6–16). Aurobindo sought no further relevant testimony on this issue, and it

 introduced no documents to support the notion that there might have been experiments performed

 by the inventors to assess the criticality of the lower EDTA limit or, more importantly, what those

 tests might have found. To support Aurobindo’s position, such tests would have needed to show

 that the critical limit for EDTA was somewhere above Aurobindo’s 0.0005% EDTA concentration.

 In short, the Court finds that Dr. Motheram’s responses to leading questions, without more, does

 little to contradict Chiesi’s position on criticality.

          Dr. Little credibly opined in conclusion that a POSA would understand the proposed

 product to literally meet the “about 0.001% limitation,” given that (1) Aurobindo employed its

 0.0005% EDTA for the same purpose, and (2) there was no evidence to suggest that the 0.001%

 lower claim limit was critical. 8 Dr. Tarantino did not provide a meaningful assessment of the

 criticality of the 0.001% EDTA limitation. 9

          Having considered the evidence presented, the Court concludes that Chiesi has shown that

 in light of its purpose and the lack of criticality of the claimed lower limit of EDTA, as well as the

 context of the invention, a POSA would view an extension below the 0.001% lower limit to


 8
   Expressed in the affirmative, the Court concludes that Chiesi has shown that in light of the lack of criticality of the
 claimed lower limit of EDTA, a 0.0005% extension below the 0.001% lower limit is both appropriate and a “modest
 amount” that is consistent with the claim term’s use of the term “about.” See Par Pharm., 835 Fed. App’x. at 584.
 9
   Dr. Tarantino did opine that the amount of EDTA in the proposed product could not be considered “equivalent” to
 the lower limit of the 0.001% claim because it was only half the amount and “50% is in no way equivalent to 100%.”
 (Trial Tr. at 621:5–14). Chiesi moved to strike this testimony as outside the scope of Dr. Tarantino’s expert report.
 (ECF No. 341). The Court is not persuaded that this particular choice of expression by Dr. Tarantino to articulate his
 position improperly exceeded his expert reports and will deny this portion of Chiesi’s motion. The Court nevertheless
 found Dr. Tarantino’s statement largely ineffectual, given the nature of the applicable purpose/function analysis.

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 0.0005% (w/v) EDTA as both “modest” and consistent with the claim term’s use of the term

 “about.” 10 See Par Pharm., 835 Fed. App’x. at 584. The Court therefore finds that Chiesa has

 shown by a preponderance that, on the basis of a purpose/function analysis, the proposed product

 with its 0.0005% (w/v) EDTA literally meets the “about 0.001 to about 1.5% w/v EDTA” claim

 limitation. 11 Given that the Court has found that the proposed product meets each of the limitations

 of claim 1 of the ‘676 Patent, the Court concludes that it literally infringes claim 1.

                              The ‘676 Patent: Claim 8

          Claim 8 of the ‘676 patent claims:

          8. The formulation of claim 1 wherein microbial growth is delayed or retarded such that
          there is less than 10-fold (1 log) increase in viable microbial colonies over a 24-hour
          period.

          At trial Chiesi presented two bases for finding that the proposed product infringes claim 8.

 First, it introduced evidence showing that during Aurobindo’s development of its proposed

 product, Aurobindo subjected a batch of its product (CVD/FD00407/020) to 24-hour microbial

 resistance testing. (Trial Tr. 304:23–305:11 (DeLisa); see also PTX-0816).                                Batch No.

 CVD/FD00407/020 is representative of the proposed product insofar as the identity and

 concentration of each ingredient in the CVD/FD00407/020 batch is the same as the proposed

 product.     (Trial    Tr.     at   385:14-23       (Little);    compare       PTX-0811.3         (formulation       of

 CVD/FD00407/020) with PTX-0832.18 (ANDA specification)). Aurobindo’s testing was to

 assess whether the five standard USP test microorganisms increased in Batch No.



 10
    In reaching what the Court perceives as a legal conclusion with respect to the modesty of the range extension, the
 Court also rejects Aurobindo’s argument as part of its Motion to Strike Plaintiffs’ Proposed Findings of Fact and Law
 that Chiesi had failed to show the extension was modest.
 11
    Insofar as the Court concludes that a purpose/function analysis is the appropriate one in this instance and that
 Plaintiffs have met their burden of establishing infringement under it, the Court does not reach Plaintiffs’ alternative
 literal infringement theory premised upon rounding/precision that is substantially more fact-intensive. This moots
 Chiesi’s Motion to Strike portions of Dr. Tarantino’s trial testimony (ECF No. 341), as well as a portion of
 Aurobindo’s Motion to Strike Plaintiffs’ Proposed Findings of Fact and Law (ECF No. 372)

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 CVD/FD00407/020 over a 24-hour period. Its results showed that each of the five standard

 microorganisms did not increase, but instead decreased, over the 24-hour period. (Trial Tr. at

 305:20-307:21 (DeLisa); see also PTX-0816). Aurobindo’s emails also indicated that its product

 did not exhibit an increase in microbial growth over a 24-hour period based on this data. (Trial

 Tr. at 282:2–12, 283:4–11 (Barik); see also PTX-0813; PTX-0814; Trial Tr. at 403:22–405:16

 (Little)).

         Second, Chiesi also introduced evidence that Aurobindo tested exhibit batches of its own

 proposed product (i.e., batches Aurobindo manufactured and characterized as part of its ANDA

 submission) for microbial resistance over a 12-hour period, but not a 24-hour period. Dr. DeLisa

 testified that he was able to use the 24-hour microbial resistance data from developmental Batch

 No. CVD/FD00407/020 to extrapolate whether these exhibit batches would also demonstrate

 microbial resistance at 24 hours. (Trial Tr. at 308:1–309:2 (DeLisa)). Dr. DeLisa’s modeling

 analysis shows that, like Batch No. CVD/FD00407/020, Aurobindo’s exhibit batches would not

 exhibit an increase, but instead would exhibit a decrease, in microbial counts over a 24-hour period.

 (Trial Tr. at 309:7–313:7 (DeLisa)). Based upon that data, he opined that a POSA would conclude

 that the proposed product would meet the 24-hour microbial resistance limitation. (Trial Tr. at

 313:11–15 (DeLisa)).

         For its part, Aurobindo did not present affirmative evidence that its ANDA Products would

 fail to meet the 24-hour microbial resistance limitation. Its experts did not address whether

 Aurobindo’s ANDA Products would fail to meet the 24-hour microbial resistance limitation.

 Instead, Aurobindo’s attorney cross examined Dr. DeLisa regarding whether his modeling analysis

 considered the “lag phase” of the five standard test microorganisms. (Trial Tr. at 323:4–325:18

 (DeLisa)). Dr. DeLisa explained that a lag phase is a phenomenon that may or may not occur



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 shortly or immediately after inoculation of a microbe into a new environment. A characteristic of

 such a lag phase, if it does occur, is a period of stagnant growth. (Trial Tr. at 317:23–318:1

 (DeLisa)). Dr. DeLisa further testified that he did not include the lag phase in his modeling

 analysis because, in Aurobindo’s internal 24-hour microbial resistance testing, which was used to

 generate his model, there was no evidence of a lag phase. Therefore, he believed it was not

 necessary to include a lag phase in his modeling analysis. (Trial Tr. at 318:2-10 (DeLisa)).

 Aurobindo did not present any documents or testimony to the contrary and Aurobindo’s experts

 did not address lag phase at all. Dr. DeLisa also testified that “[i]t wasn’t necessary” to “perform

 any testing of [his] own on Aurobindo’s clevidipine formulation” because both “Aurobindo’s . . .

 internal testing of microbial resistance of the 020 batch” and his “modeling analysis” each

 “provided ample evidence that [Aurobindo’s] clevidipine formulation meets the limitation.” (Tr.

 at 316:6–17 (DeLisa)).

        Based on the uncontradicted evidence presented, the Court finds that Chiesi has

 demonstrated by a preponderance of the evidence that the proposed product delays or retards

 microbial growth “such that there is less than 10-fold (1 log) increase in viable microbial colonies

 over a 24-hour period.” Claim 8 of the ‘676 Patent is therefore literally infringed by the proposed

 product.

                        The ‘537 Patent: Claim 7

        Claim 7 of the ‘’537 patent recites:

        7. A pharmaceutical formulation comprising

                (a) clevidipine butyrate, present at about 0.01 to about 1% w/v,
                (b) EDTA, present at about 0.001 to about 0.1% w/v,
                (c) oleic acid, present at about 0.01 to about 2.0% w/v,
                (d) soybean oil, present at about 4 to about 30% w/v,
                (e) purified egg yolk phospholipids, present at about 0.2 to about
                2% w/v,
                (f) glycerin, present at about 2 to about 3% w/v, and
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                   (g) water, up to 100% w/v.

        With respect to limitation (c), Aurobindo stipulated only that its proposed product contains

 oleic acid. (FPO ¶ 78). With respect to its actual concentration, Chiesi introduced uncontradicted

 evidence, including testimony from Aurobindo’s own formulations scientist, that the proposed

 product contains 0.3 mg/mL or 0.03% (w/v) oleic acid. (Trial Tr. at 268:3-5 (Barik); see also PTX-

 0807.9; see also Tr. at 555:2-25 (Ghan); PTX-0832.18). This falls within the 0.01 to about 2.0%

 w/v oleic acid range claimed by claim 7. The only challenge to infringement of claim 7 that

 Aurobindo presented was the same challenge already rejected by the Court as to the proposed

 product’s 0.005% w/v EDTA composition. Insofar as Plaintiffs have shown by a preponderance

 of the evidence that the proposed product meets all limitations of claim 7, the Court finds that the

 proposed product infringes claim 7 of the ‘537 patent.

                          The ‘490 Patent: Claim 6

        Claim 6 of the ‘490 claims:

        6. A pharmaceutical formulation comprising:

        (a) an effective amount of clevidipine, or a pharmaceutically acceptable salt or ester,
        present at about 0.005 to about 1% w/v,
        (b) an antimicrobial agent, present at about 0.001 to about 1.5% w/v,
        (c) a lipid, present at about 2 to about 30% w/v,
        (d) an emulsifier, present at about 0.2 to about 2.0% w/v,
        (e) a tonicity modifier, present at about 2 to about 3% w/v,
        (f) a co-emulsifier, present at about 0.01 to about 2% w/v, and
        (g) water;
        wherein the antimicrobial agent is a chelating agent,
        wherein microbial growth is delayed or retarded such that there is less than 10-fold (1
        log) increase in viable microbial colonies over a 24-hour period,
        wherein said antimicrobial agent is EDTA or a salt thereof, and
        wherein the co-emulsifier is oleic acid.

        The parties do not dispute that EDTA is “an antimicrobial agent” within the meaning of

 limitation (b).    As with the previous claims, the only challenges that Aurobindo raised to

 infringement of claim 6 of the ‘490 Patent were based on its proposed product’s EDTA

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 concentration and its product’s microbial growth. The Court has already found the proposed

 product meets these limitations. Accordingly, the Court further concludes that claim 6 of the ‘490

 patent is literally infringed by the proposed products.

        For the foregoing reasons, the Court concludes that all of the asserted claims of the Patents

 in Suit are infringed. Accordingly, judgment will be entered in favor of Chiesi on Counts I, II, and

 III of the Amended Complaint and against Defendants on Count I of their counterclaims.

        E.      Plaintiffs’ Motion in Limine re: CN 568

        Prior to taking up the parties’ invalidity dispute, the Court first recognizes that Chiesi filed

 a motion in limine seeking to preclude Aurobindo from relying on a particular piece of prior art at

 trial: Chinese-language patent application publication number CN 101766568A to Li Baoqui

 (hereinafter “CN 568”). (ECF No. 209.) The Court reserved its decision on the motion because

 the parties’ briefing was widely disparate and because trial loomed. (See Letter Order Deciding

 the Parties’ Motions in Limine issued on January 9, 2021 at 1, ECF 301.) Chiesi’s motion sought

 to apply §§ 102(a), (b), and (e), together with concessions made by one of Aurobindo’s experts

 regarding the earliest date of invention supported in the record, to demonstrate that CN 568 does

 not qualify as prior art to the Patents in Suit and therefore should not be considered. In response,

 Aurobindo apparently sought to attack the propriety of a Rule 1.131 declaration filed by the

 inventors during prosecution of the ‘490 patent. With little overlap in the parties’ treatment of the

 issue, the Court deferred the motion to trial.




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          In its motion in limine, Chiesi argues that CN 568 does not qualify as prior art under the

 applicable pre-America Invents Act versions of 35 U.S.C. §§ 102(a),(b), or (e). 12 Given its relative

 simplicity, the Court first addresses § 102(b). On the face of each of the Patents in Suit, they claim

 priority back to the filing date of U.S. Provisional Application No. 61/392,294, which was filed

 on October 12, 2010. (PTX-001, PTX-002, PTX-003). To qualify as prior art under § 102(b), CN

 568 would have needed to be published at least one year prior to the priority date of the Patents in

 Suit, meaning the “critical date” under § 102(b) is October 12, 2009. CN 568, however, was

 published in China on July 7, 2010. Because its publication date does not precede the critical date,

 CN 658 cannot qualify as prior art to the Patents in Suit under § 102(b).

          Next, under § 102(e) CN 568 would only qualify as prior art if it were: (1) a patent

 application publication “filed in the United States before the invention” or (2) an international

 application that has “designated the United States and was published . . . in the English language.”

 CN 568 was not filed in the United States so (1) does not apply, nor was it filed as an international

 application or published in English so (2) does not apply. Accordingly, CN 568 cannot qualify as

 prior art under § 102(e).

          To reach the merits of whether CN 568 qualifies as prior art under the final provision

 asserted, § 102(a), the Court resorts to the trial record because it was not clear what Aurobindo’s

 position actually was until counsel presented it at trial. Insofar as the Court relies upon the trial

 record, as a procedural matter it will deny Chiesi’s first motion in limine, ECF 209. Nevertheless,


 12
    As Chiesi correctly notes, the America Invents Act applies only to patents with effective filing dates after March
 16, 2013. The Patents in Suit were filed before this date, therefore the pre-AIA provisions of Title 35, including 35
 U.S.C. § 102 apply. Although Aurobindo declined to stipulate to this fact, it appears to largely concede as much in
 its post-trial submissions to the Court. (See, e.g., Aurobindo’s Proposed Conclusion of Fact ¶289 (“All of the Patents-
 in-Suit were examined under pre-AIA procedures as they only contain claims with an effective filing date before
 March 16, 2013.”); but see Aurobindo’s Proposed Conclusion of Fact, footnote 1 (“Because the priority applications
 were filed before March 16, 2013, we understand that [Plaintiffs] are asserting pre-America Invents Act statutes apply.
 While there is debate concerning all claims the '537 and '490 patents are available for pre-AIA treatment, all references
 to 35 U.S.C. §§ 102, 103, and 112 in this section refer to the pre-AIA versions of the statutes.”)

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 for the reasons set forth below, the Court further concludes that CN 568 does not qualify as prior

 art under § 102(a) and, because it does not qualify as prior art under any of the asserted sections

 of § 102, it therefore cannot be relied upon as such for the purposes of an obviousness analysis

 under § 103.

          Pre-AIA § 102(a) includes as prior art any information “described in a printed publication in

 this or a foreign country, before the invention.” “Thus, under [pre-AIA] section 102(a), a document is

 prior art only when published before the invention date.” Mahurkar v. C.R. Bard, Inc., 79 F.3d 1572,

 1576 (Fed. Cir. 1996).

          Initially, “the date of the invention is presumed to be the filing date of the parent

 application.” Ecolochem, Inc. v. Southern California Edison Co., 227 F.3d 1361, 1371 (Fed. Cir.

 2000). This presumption can be rebutted. Here, the parties dispute how this is properly done. At

 trial and in its post-trial briefing, Aurobindo attempts to heighten the showing that Chiesi must

 make to establish an earlier invention date. It asserts that Chiesi must either prove (1) a conception

 and reduction to practice before the filing date of [the prior art reference] or (2) a conception before

 the filing date of [the prior art reference] combined with diligence and reduction to practice after

 that date. (Aurobindo Proposed Findings of Law). Under both of the two routes, Aurobindo

 therefore insists that Chiesi must establish a date of conception. 13 Aurobindo is incorrect as a

 matter of law.

          To overcome a reference under § 102(a) via the first route, date of conception is not

 required. Chiesi may merely establish that the inventors reduced the invention to practice before

 the asserted reference. See 37 CFR § 1.131(b) (An affidavit of prior invention may be filed with


 13
    Aurobindo’s erroneous belief that Chiesi must establish conception in addition to reduction to practice led it down
 a complicated path that included a challenge to the propriety of the Motheram Declaration that was submitted to the
 Patent Office under Rule 1.131 during prosecution and appears to have formed the basis for Aurobindo’s opposition
 to Chiesi’s first motion in limine. Because Aurobindo’s legal premise is faulty, the Court does not address these issues
 further.

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 a “showing of facts . . . to establish reduction to practice prior to the effective date of the reference,

 or conception of the invention prior to the effective date of the reference coupled with due diligence

 . . . to a subsequent reduction to practice.”); see Loral Fairchild Corp. v. Matsushita Elec., 266

 F.3d 1358, 1361 (“Because [the patentee] does not argue for conception plus diligence to establish

 a date of invention prior to the [prior art reference], but only reduction to practice, we address only

 Loral’s actual reduction to practice of the invention.”); Fox Grp., Inc. v. Cree, Inc., 700 F.3d 1300,

 1304 (2012) (“Cree needs only prove it reduced its invention to practice first or that it conceived

 of the invention first and was diligent in reducing it to practice.”). In short, Chiesi need not

 establish a date of conception if it can show that the invention was reduced to practice prior to a

 reference’s date.

         Establishing actual reduction to practice is relatively straightforward: it “occurs when an

 inventor (1) constructs an embodiment or performs a process that meets all the limitations of the

 claimed invention, and (2) determines that the invention would work for its intended purpose.”

 Ideal Innovations, Inc. v. United States, 20-2965, 2021WL5754818, at *4 (Fed. Cir. Dec. 3, 2021)

 (citing E.I. du Pont De Nemours & Co. v. Unifrax I LLC, 921 F.3d 1060, 1075 (Fed. Cir. 2019)).

 Whether an invention has actually been reduced to practice is a legal question based on subsidiary

 factual findings. Id. (citing Taskett v. Dentlinger, 344 F.3d 1337, 1339 (Fed. Cir. 2003)). “Testing

 is not itself a requisite for reduction to practice, although it may be a requisite for showing that a

 prototype demonstrates that an invention is suitable for its intended purpose.” Id. at *5 (quoting

 Slip Track Sys. v. MetalLite, Inc., 304 F.3d 1256, 1267 (Fed. Cir. 2002)).

         Notably, “an inventor’s testimony alone is insufficient to establish an earlier reduction to

 practice.” Raytheon Co. v. Sony Corp., 727 Fed. App’x. 662, 668 (Fed. Cir. 2018) (quoting

 Medichem, S.A. v. Rolabo, S.L., 437 F.3d 1157, 1169–71 (Fed. Cir. 2006)). “Instead, a party



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 seeking to prove an actual reduction to practice must proffer evidence corroborating that

 testimony.”   Id. (quoting Medichem, 437 F.3d 1169–71). “Sufficiency of corroboration is

 determined by using a ‘rule of reason’ analysis, under which all pertinent evidence is examined

 when determining the credibility of an inventor’s testimony.” Id. (quoting Medichem, 437 F.3d

 1169–71).

        Here, both of the inventors testified that the formulations set forth in the asserted claims

 were conceived of and reduced to practice by at least April 1, 2009. (Trial Tr. at 123:22–128:17

 (Motheram); Trial Tr. at 779:12–19 (Williams)). This is corroborated by information contained

 within a document referred to by the parties as the “FDA Briefing Document” (PTX-0069).

 Testimony from Dr. Williams and the contents of the document establish that the FDA Briefing

 Document was created by Dr. Williams and submitted to the FDA ahead of a meeting to discuss

 the proposed new clevidipine formulation that he and Dr. Motheram had developed. (Trial Tr. at

 748:25-749:19 (Williams); see also PTX-0069.1). Table 6 of the FDA Briefing Document shows

 the composition of the proposed new pharmaceutical formulation which includes clevidipine,

 EDTA (antimicrobial agent), oleic acid (co-emulsifier), soybean oil (lipid), glycerin (tonicity

 modifier), purified egg yolk phospholipids (emulsifier), and water. (PTX-0069.23; see also Trial

 Tr. at 125:8–126:15 (Motheram)). Based upon the testing the inventors had carried out and the

 data that had been generated and submitted in the FDA Briefing Document, the inventors

 determined that their formulation would work as intended and applied for FDA approval on the

 basis of that determination. (Trial Tr. at 123:22-128:17 (Motheram); see also PTX-0069.17-21).

        Aurobindo’s validity expert, Dr. Crowley, did not dispute the date of invention. (Trial Tr.

 at 1302:2–12 (Crowley)). Perhaps more notably, Aurobindo’s own patent law expert, Dr. Linck,

 testified that she agreed that the earliest corroborated date of invention is April 1, 2009, and that



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 the FDA Briefing Document itself corroborated that invention date. (Trial Tr. at 1135:5-25

 (Linck)). This was also consistent with the testimony of Plaintiffs’ expert, Dr. Little, who said that

 the inventions were reduced to practice as of April 1, 2009. (Trial Tr. at 1597:2-1599:11 (Little)).

 Based upon the inventors’ testimony, as corroborated by the FDA Briefing Document and by

 testimony from both sides’ experts, the Court therefore finds that Chiesi has demonstrated that the

 inventors had actually reduced their invention to practice by some point prior to April 1, 2009.

        A consequence of the Court’s conclusion is that the CN 568 reference, which was published

 on July 7, 2010, cannot qualify as prior art under § 102(a) because the April 1, 2009 invention date

 pre-dates CN 568’s publication date of July 7, 2010. CN 568 will therefore not be considered prior

 art for the purposes of the Court’s obviousness analysis.

        F.      Invalidity

        In support of its invalidity arguments, Aurobindo proffered as an expert at trial Dr. Michael

 Crowley, Ph.D., a pharmaceutical consultant and adjunct professor at the University of Texas at

 Austin in the College of Pharmacy. (Trial Tr. 1229: 14–16 (Crowley)). Dr. Crowley is the

 President of Theridian Technologies, which offers “pharmaceutical consulting and drug

 development, formulation development, scale-up, [and] generation of FDA regulatory

 documents.” (Trial Tr. 1229:20–1230:1). He has approximately 30 years of experience in the

 fields of molecular pharmaceutics and drug delivery. (Trial Tr. 1231:4–7). Dr. Crowley was

 accepted by the Court as an expert in the field of pharmaceutics and, more specifically,

 development of parenteral formulations.          (Trial Tr. 1233:25–1234:13).        In rebuttal on

 infringement, Chiesi again proffered Dr. Little as an expert.




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                           Obviousness Law

         Under 35 U.S.C. § 103, a patent may not issue if its claims are obvious to a POSA in light

 of such prior art. 14 Titan Tire Corp. v. Case New Holland, Inc., 566 F.3d 1372, 1380 (Fed. Cir.

 2009). Obviousness “is a question of law based on underlying findings of fact.” In re Kubin, 561

 F.3d 1351, 1355 (Fed. Cir. 2009). It turns on four inquiries: “(1) the scope and content of prior

 art, (2) differences between claims and prior art, (3) the level of ordinary skill in pertinent art, and

 (4) secondary considerations such as commercial success and satisfaction of a long-felt need.”

 Procter, 566 F.3d at 994; In re Cyclobenzaprine, 676 F.3d at 1068; see also KSR Int'l Co. v.

 Teleflex Inc., 550 U.S. 398 (2007); Graham v. John Deere Co. of Kan. City, 383 U.S. 1, 17 (1966).

         Courts must assess obviousness against the state of the art at the “time the invention was

 made.” 35 U.S.C. § 103 (pre-AIA); KSR, 550 U.S. at 406. “Measuring a claimed invention against

 the standard established by section 103 requires the oft-difficult but critical step of casting the

 mind back to the time of invention, to consider the thinking of one of ordinary skill in the art,

 guided only by the prior art references and the then-accepted wisdom in the field.” Depomed, Inc.

 v. Actavis Elizabeth LLC, Civ. No. 12-1358, 2014 WL 4215435, at *26 (D.N.J. Aug. 25, 2014)

 (quoting In re Dembiczak, 175 F.3d 994, 999 (Fed. Cir. 1999)). In this regard, the Federal Circuit

 has regularly cautioned that a “fact finder must not allow its analysis to be distorted by hind-sight

 bias.” Neptune Generics, LLC v. Eli Lilly & Co., 921 F.3d 1372, 1377 (Fed. Cir. 2019); In re

 Kotzab, 217 F.3d 1365, 1369 (Fed. Cir. 2000) (noting the “insidious effect” of a hindsight-driven

 analysis). “The inventor’s own path itself never leads to a conclusion of obviousness; that is




 14
   35 U.S.C. § 102 defines what qualifies as prior art for the purposes of a § 103 obviousness analysis. The Court has
 already reviewed the applicable paragraphs of § 102 in the portion of this Opinion deciding Defendants’ Motion in
 Limine as to the CN 568 reference, and so will not repeat it here.

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 hindsight. What matters is the path that the [POSA] would have followed, as evidenced by the

 pertinent prior art.” Otsuka Pharm. Co. v. Sandoz, Inc., 678 F.3d 1280, 1296 (Fed. Cir. 2012).

        “[I]n determining obviousness, the challenger bears the burden of establishing that a skilled

 artisan would have been motivated to combine the teachings of the prior art references to achieve

 the claimed invention, and that the skilled artisan would have had a reasonable expectation of

 success in doing so.” Millennium Pharm., Inc. v. Sandoz Inc., 862 F.3d 1356, 1366 (Fed. Cir. 2017

 (quoting Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1361 (Fed. Cir. 2007)). The Supreme Court

 has clarified that this analysis is to be “expansive and flexible.” KSR, Intern. Co. v. Teleflex Inc.,

 550 U.S. 398, 415, 419 (2007); see also Perfect Web Techs., Inc. v. InfoUSA, Inc., 587 F.3d 1324,

 1328 (Fed. Cir. 2009) (“Common sense has long been recognized to inform the analysis of

 obviousness if explained with sufficient reasoning.”).

        “Whether a [prior art] reference was previously considered by the PTO, the burden of proof

 is the same: clear and convincing evidence of invalidity.” Sciele Pharma Inc. v. Lupin Ltd., 684

 F.3d 1253, 1260 (Fed. Cir. 2012) (citation omitted). “[T]here is no heightened burden of proof

 when a reference was previously considered by the PTO, and no lowered burden of proof if a

 defendant raises a new reference or argument during litigation.” Id. “The burden is always the

 same, clear and convincing evidence.” Id. “While the ultimate burden of proof does not change,

 new evidence not considered by the PTO ‘may carry more weight . . . than evidence previously

 considered by the PTO,’ and may go further toward sustaining the attacker's unchanging burden.”

 Id. (interior quotation marks omitted). “[I]f the PTO did not have all material facts before it, its

 considered judgment may lose significant force” and the burden to persuade the finder of fact by

 clear and convincing evidence may, therefore, “be easier to sustain.” Id. Instead, the fact that




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 references were previously before the PTO goes to the weight the court or jury might assign to the

 proffered evidence. Id.

                       Aurobindo’s Evidence and Arguments re: Invalidity

        Aurobindo’s obviousness case is not complex: it asserts that the inventions as claimed are

 obvious in view of an earlier version of Cleviprex (the parties refer to this product as “Original

 Cleviprex”), which is prior art to the inventions. The sole difference between Original Cleviprex

 and the claimed inventions is that the inventions include EDTA and oleic acid. (See Original

 Cleviprex Full Prescribing Information dated 2008 at 7 (listing active ingredients and excipients),

 PTX-0053.7; see also FPO at 45.). Aurobindo contends it would have been obvious to add these

 two missing components to Original Cleviprex in order address what Aurobindo claims were

 known microbial contamination issues. (Trial Tr. 1245:23–1246:2 (Crowley); Original Cleviprex

 Label, PTX-004.214; ‘576 Patent at 1:38–39; United States Patent No. 5,714, 520 to Jones et al.,

 2:62–64 (“Microbial contamination of parenteral fluids used in ‘giving sets’ of this type has been

 recognized as one of many causes of nosocomial infection amongst ICU patients.”), DTX-027).

        For a teaching in the art to add EDTA specifically, Aurobindo cites to the prior art drug

 product Diprivan (intravenous propofol) and Chiesi’s own FDA Briefing Document, which

 recognized the similarity of Diprivan to improved Cleviprex when it told FDA that “[m]ore

 relevant comparisons include the use of EDTA (0.005%) to retard the growth in intravenous

 propofol [Diprivan], which is a lipid-based emulsion vehicle.” (FDA Briefing Document at 30).

 Aurobindo also cited Dr. Williams’s own testimony that Diprivan was similarly formulated as an

 oil-in-water emulsion “although slightly different from that of Cleviprex." (Trial Tr. 768:18–21

 (Williams)). Dr. Crowley testified that he “was somewhat familiar with Diprivan during [his]

 work career and knew some of the details,” (Trial Tr. 1257:11-12 (Crowley)) and that, upon his



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 initial review of the '676 patent and the '537 patent, he “immediately thought of Diprivan” (Trial

 Tr. 1234:19–21 (Crowley)) because of the strong similarity he perceived between the formulation

 of original Cleviprex and the original version Diprivan without EDTA (original Diprivan), which

 differed only as to the active (propofol v. clevidipine) and the amount of oil in Intralipid base,

 (Trial Tr. 1253:5–12 (Crowley)).

        Aurobindo contends that the development path of Cleviprex parallels that of Diprivan very

 closely. In support, it cites “The Recent Development of Propofol (DIPRIVAN®)” by Thompson

 and Goodale published in 2000 (“Thompson,” DTX-053), which observed that EDTA “met the

 predefined requirements and previously had been used clinically in an aqueous intravenous

 solution to treat hypercalcemia and lead poisoning and as a possible treatment for atherosclerosis.”

 (DTX-053 at 2). Thompson further stated that “EDTA is also used as an additive in a number of

 other pharmaceutical products.” Id. It disclosed that “the FDA required that the chosen additive

 be capable of retarding the growth of microorganisms to not greater than 10-fold within 24 hours

 after extrinsic microbial contamination equivalent to ‘touch contamination.’” Id. Moreover,

 “EDTA as 0.005% concentration in the propofol emulsion was found to be effective against 20

 microorganisms, including 7 gram positive bacteria, 10 gram negative bacteria, and 3 yeast/fungi.”

 (DTX-053 at 3). EDTA antimicrobial activity was "based on yet another extensive clinical trial

 program." Id. Finally, Thompson reported the success of the modified Diprivan insofar as “[i]n

 the 4 years since the introduction of the modified formulation of propofol, clinical experience in

 more than 30 million US patients has shown that propofol containing EDTA has reduced the

 incidence of fever and infections from approximately 20 per year to essentially 0.” (DTX-053 at

 4). Aurobindo argues that the FDA Briefing Document makes clear that EDTA was added to

 Original Cleviprex for the same purpose it was added to original Diprivan. (FDA Briefing



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 Document at 9 (“In addition, the selected EDTA at 0.005% level is the same as that in emulsion

 drug product Diprivan® which has been approved for use for potential microbial retardation.”)).

        Aurobindo also contends it was well known in the art to add oleic acid, as recognized at

 two points in the FDA Briefing Document (“[o]leic acid was selected as a co-surfactant to further

 stabilize the emulsion because it is commonly used for this purpose” and “oleic acid is a commonly

 used excipient in a number of currently approved and marketed parenteral emulsions” (FDA

 Briefing Document at 15) and in the Pharmaceutical Development section of the sNDA filed with

 FDA for Improved Cleviprex (“[o]leic acid was selected because it is commonly used as a co-

 emulsifier in commercially available injectable lipid emulsions,” PTX-800.4). Yamaguchi 1995,

 a reference cited by Dr. Williams in the FDA Briefing Document, conveyed how oleic acid

 functioned by that “Washington and Davis (5) reported that the surface negative electric potential

 of LE [lipid emulsion] was decreased by the addition of a fatty acid such as oleic acid.” (PTX-

 0069.161) and therefore “oleic acid prevented flocculation and coalescence” (PTX-0069.165).

 Moreover, Aurobindo points to Dr. Williams’ own testimony admitting that oleic acid was chosen

 as a co-emulsifier when instability in the formulation was noted because it was naturally found in

 soybean oil. (Trial Tr. 782:17–783:2 (Williams)). Dr. Crowley confirmed that oleic acid is present

 in both soybean oil and egg yolk phospholipids. (Trial Tr. 1353:3–6 (Crowley)).

        On cross examination, however, Dr. Crowley admitted that, generally speaking,

 “pharmaceutics is a complex science and that a single additive can affect the entire composition

 taking into account not only the particular ingredient but also the amount of each ingredient.”

 (Trial Tr. at 1346:18–22 (Crowley)).      Consequently, and as Dr. Crowley agreed, “in the

 pharmaceutical industry a great many innovative formulations are developed from known




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 acceptable ingredients in the FDA [inactive ingredient database] list” and, in fact, Dr. Crowley has

 done this many times himself. (Tr. at 1346:23-1347:3 (Crowley)).

         With respect to comparisons to Diprivan, Dr. Crowley also admitted that Diprivan’s

 formulators were motivated to add EDTA because it was known in the art at the time that health-

 care providers were using improper aseptic technique (i.e., multiple sticks) with the original

 Diprivan formulation (without EDTA) and that the improper technique had led to contamination

 and clusters of infections. (Trial Tr. at 1257:5-1258:17, 1321:1-15 (Crowley)). Dr. Crowley

 conceded that he was not aware of any similar problems known in art with respect to Original

 Cleviprex. Specifically, he had not seen (1) any reports of clusters of infections with Original

 Cleviprex; (2) any reports of Original Cleviprex being improperly used; or (3) any reports of

 improper aseptic technique for Original Cleviprex. (Trial Tr. at 1321:23–1322:7 (Crowley)).

 Instead, if anything, experience had shown that Original Cleviprex had been used safely in clinical

 trials with a vial hang time of 12 hours. (Trial Tr. at 1322:8–12 (Crowley); see also Trial Tr. at

 740:11–13 (Dr. Williams discussing 12-hour hang time safely used during the Original Cleviprex

 clinical trials) (Williams)).

                         Chiesi Rebuttal re: Obviousness

         Chiesi’s response at trial to Aurobindo’s invalidity presentation was detailed and thorough.

                         a)      References Did Not Show Inventive Combination

         Chiesi first asserted that there was no disclosure of EDTA in combination with clevidipine

 in the prior art presented by Aurobindo. Likewise, no prior art included a teaching of oleic acid in

 combination with clevidipine.

                         b)      Aurobindo Analysis as Improper Hindsight

         Second, Chiesi accused Aurobindo of hindsight analysis.            It faulted Aurobindo for

 providing Dr. Crowley with the Patents-in-Suit before he conducted his obviousness analysis.

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 (Trial Tr. at 1300:17–20 (Crowley)). It argues Aurobindo should have given Dr. Crowley

 information about the Original Cleviprex formulation first and then subsequently asked if, in the

 2009 timeframe, there would have been any known problem to be solved with Original Cleviprex.

 (Trial Tr. at 1300:21-25 (Crowley)). It should have also given Dr. Crowley information about the

 Original Cleviprex formulation first and then subsequently asked what, if any, changes a POSA

 would have made to Original Cleviprex in the 2009 timeframe. (Trial Tr. at 1301:1-5 (Crowley)).

 Chiesi also faults Dr. Crowley for considering what he called “admission[s]” from the inventors,

 contained within the “FDA Briefing Document.” (See, e.g., Trial Tr. at 1264:3-1265:14

 (Crowley)). According to Chiesi, these statements are not properly considered in an obviousness

 analysis because they were not made by a POSA or available to a POSA, but were instead made

 in confidential regulatory documents with hindsight after the inventions were made and tested.

 They argue that Dr. Crowley’s testimony demonstrated the hindsight effect they had on his analysis

 when he admitted that “Well, I saw them and so you can’t unsee them.” (Trial Tr. at 1352:19–23

 (Crowley)).

                        c)     No Motivation to Modify Original Cleviprex

        Third, Chiesi maintains that Aurobindo failed to establish, by clear and convincing

 evidence, that there was any known problem to be solved that would have motivated a POSA to

 arrive at the claimed inventions. Chiesi notes that at the time of invention, Original Cleviprex had

 only been recently approved in December 2008. (Trial Tr. at 79:19–80:17 (Zwinski); PTX-053

 (Original Cleviprex Package Insert, dated 2008)). It did not contain EDTA or oleic acid. (See

 PTX-053.7 (Section 11“Description”); Trial Tr. at 1320:13–22 (Crowley)). And, as discussed,

 supra, Dr. Crowley recognized that unlike Diprivan, which Aurobindo relied upon as a motivation

 to modify Original Cleviprex, there was no evidence in the art showing contamination issues or

 cluster infections with Original Cleviprex. (Trial Tr. at 1257:5–1258:17, 1321:1–15 (Crowley)).
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 Dr. Little, Dr. Crowley, and fact witnesses were consistent on this point. (Trial Tr. at 1549:22-

 1550:18, 1629:21-1630:21 (Little); Tr. at 72:24-73:15, 81:17-24 (Mr. Zwinski describing his

 familiarity with Original Cleviprex before he joined Chiesi in 2012); Trial Tr. at 82:12–20 (Mr.

 Zwinski testifying that he had not heard of any microbial contamination issues, infections, or

 stability problems associated with the use of Original Cleviprex prior to joining Chiesi in 2012);

 Trial Tr. at 154:21–155:2 (Dr. Motheram confirming on cross examination that he couldn’t recall

 any reports of cluster infections with Original Cleviprex); Trial Tr. at 741:6–25 (Dr. Williams

 testifying that Original Cleviprex was used in about 2,000 patients in clinical trials with a 12-hour

 hang time and no reports of infections)).

                                (1)     No Motivation to Include EDTA

        Chiesi also notes that Dr. Crowley testified that the approval of the Diprivan+EDTA

 formulation was in 1996, and the first marketing of Original Cleviprex (without EDTA) occurred

 in 2008. It argues the intervening 12-year period confirms the absence of any motivation because,

 if Diprivan had provided a motivation, as Aurobindo contends, Original Cleviprex would have

 been formulated with EDTA. (Trial Tr. at 1557:16–1558:13 (Little); see also PDX6.11; Trial Tr.

 at 1251:1–8, 1320:23–25 (Dr. Crowley acknowledging, on both direct and cross examination, the

 12-year difference)). Dr. Little provided a rationale for why EDTA was not added to Original

 Cleviprex that went unrebutted by Dr. Crowley: “[T]here are a lot of formulations that are made

 that are single-use formulations. They’re made to be sterile. So they don’t have bacteria growing

 in them whenever they’re in the bottle.” (Trial Tr. at 1558:14–19 (Little)). Consequently, “[i]t is

 not the case that you would just assume that every single-use product that you would use would

 need an antimicrobial effectiveness agent, even if it’s made out of the same things [i.e., Intralipid],

 which I don’t agree with [for Original Cleviprex and Diprivan].” (Trial Tr. at 1558:22–25 (Little)).



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        There was evidence presented at trial by both parties’ experts on this point. Dr. Crowley

 presented a long list of drugs (and classes of drugs) that were purportedly formulated in the same

 emulsion base—Intralipid. (DDX-15). Dr. Crowley confirmed that Diprivan was the sole

 example, out of the many drugs and classes of drugs listed, that was formulated with EDTA. (Trial

 Tr. at 1312:10–23 (Crowley)). Dr. Little noted that none of the references that Dr. Crowley relied

 upon, with the exception of Diprivan, were formulated with EDTA. (Trial Tr. at 1561:8–18

 (Little)). Instead, the evidence showed that, in addition to Original Cleviprex, other drugs on

 DDX-15 were formulated without EDTA after Diprivan+EDTA was approved in 1996. (Trial Tr.

 at 1312:25-1313:18, 1314:7-1320:12 (Crowley)).

        Even assuming arguendo that there was a known problem to be solved with Original

 Cleviprex, Chiesi maintains that Aurobindo did not prove, by clear and convincing evidence, that

 a POSA would have been motivated to add EDTA to clevidipine as an antimicrobial agent to arrive

 at any of the claimed inventions. EDTA was not known to be a broad-spectrum antimicrobial

 agent, a “major criteria,” given that when selecting a preservative to be included in an injectable

 formulation “it should be effective against a wide spectrum of microorganisms.” (Trial Tr. at

 1307:21–1308:1 (Crowley)). In fact, numerous references indicated that “EDTA was known to

 not be a very good antimicrobial agent.” (Trial Tr. at 1550:19–1551:13 1562:11–24 (Little)).

 Moreover, it “was specifically taught to not be a broad-spectrum antimicrobial agent and it was

 specifically taught to be used with other [antimicrobial agents], not by itself.” For example, and

 as both parties’ experts agreed, prior art Patent No. 5,714,520 to Jones et al. (“Jones ’520 Patent”)

 disclosed that EDTA “is not regarded as a broad spectrum antimicrobial agent.” (DTX-027 at 4:22-

 37; Trial Tr. at 1310:11–21 (Crowley); Trial Tr. at 1562:25–1563:17 (Little)). And both parties’

 experts agreed that the Thompson reference likewise disclosed that “EDTA should not be



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 considered a complete antimicrobial agent because its action is dependent on bacterium as well as

 the medium involved.” (DTX-053 at Aur_Cle-00116401; Tr. at 1310:3-10 (Crowley); Trial Tr. at

 1562:25–1563:3, 1563:8–24 (Little)). In short, the prior art taught that, if a POSA were going to

 use EDTA as an antimicrobial agent, then it would have to be used in combination with other

 antimicrobial agents, not on its own. (Trial Tr. at 1551:10-13, 1564:4-25 (Little)). By way of

 example, both parties’ experts agreed that the 2003 Handbook of Pharmaceutical Excipients

 (“HPE”) disclosed that EDTA’s antimicrobial activity “is insufficient for [it] to be used effectively

 as antimicrobial preservative on its own.” (DTX-028 at Aur_Cle-0006964; Trial Tr. at 1333:7-

 1334:6 (Crowley); Tr. at 1564:4-25 (Little)). The disclosure from the HPE is significant because,

 as Dr. Crowley agreed, “a person of ordinary skill in the art . . . heavily relies upon the Handbook

 of Pharmaceutical Excipients for information about inactive ingredients,” such as EDTA. (Trial

 Tr. at 1333:7–20 (Crowley)).

        Chiesi says Aurobindo also admitted elsewhere that using EDTA alone in a clevidipine

 suspension of this kind was contrary to teachings in the prior art. Aurobindo’s admission was

 made in the process of its own U.S. patent application for a clevidipine, EDTA, and oleic acid

 suspension when it sought to distinguish its proposed invention from the prior art. It argued to the

 USPTO that the “[p]rior art discloses use of antimicrobial agent which may comprise more than

 one different antimicrobial agents. . . . So compared to prior art [the] present invention uses only

 one antimicrobial agent.” (PTX-864.134 (emphasis in original)).

        Chiesi introduced evidence from both parties’ experts and fact witnesses that there were

 potential safety concerns disclosed throughout the prior art with respect to using EDTA in

 combination with a calcium channel blocker like clevidipine. ( Trial Tr. at 111:9–115:11

 (Motheram); Trial Tr. at 261:24–262:3, 287:1–288:13, 289:19–290:11 (Barik); Trial Tr. at 761:12-



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 762:21 (Williams); Trial Tr. at 806:25–807:4 (Ding); Trial Tr. at 1333:7–1336:4 (Crowley); Trial

 Tr. at 1566:4–1570:2 (Little); DTX-028 at Aur_Cle-0006965; DTX-320 at CHI_CLE_0000358;

 PTX-802.5; PTX-803.2; PTX-819.3; PTX-864.135-136). The prior art taught that EDTA is a

 chelating agent and could therefore cause calcium depletion. For example, the HPE discloses that

 EDTA is a chelator that can “cause calcium depletion (hypocalcemia).” (DTX-028 at Aur_Cle-

 0006985; Trial Tr. at 1566:11-1567:4 (Little)). U.S. Patent No. 8,148,356 (“the ’356 Patent”)

 likewise discloses that EDTA is a chelating agent that can cause “undesirable effects includ[ing]

 a significant drop in serum calcium levels.” (DTX-320 at 2:12-25; Trial Tr. at 1567:11–25

 (Little)). Dr. Crowley agreed that hypocalcemia can be life threatening. (Trial Tr. at 1338:1–3

 (Crowley)). Aurobindo and the applicants of the Patents in Suit relied upon hypocalcemia (and

 the ’356 Patent specifically) to argue to the USPTO that the art would have taught away from the

 use of EDTA (especially with clevidipine). (Trial Tr. at 1569:23–1570:2 (Little)). In fact,

 Aurobindo relied on the potential for hypocalcemia—even at the EDTA concentrations present in

 the FDA-approved Improved Cleviprex—as the entire basis for its own clevidipine, EDTA, and

 oleic acid patent application. Aurobindo explicitly states in its patent application:

                Intravenous formulations using disodium EDTA can lead to [a]
                decline in concentration of calcium . . . . A rapid decline in blood
                calcium can lead to muscle spasm. It can cause severe
                hypocalcemia, brachiopods, bronchial spasms, seizures and even
                apnea. Effects on the cardiovascular system. . . can occur in severe
                ventricular fibrillation.

                Hence, there is still a need to design pharmaceutical composition[s]
                of clevidipine that have prolonged stability, efficacy and reduced
                side effects. Inventors of the present invention have endeavored to
                develop such formulations that are also economical and
                commercially viable while having none or lower concentration of
                antimicrobial agent [EDTA]. . . .”

 (PTX-819; Trial Tr. at 1568:8–1569:10 (Little)).



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        Chiesi pointed to a second reason not to use EDTA in the context of the claimed inventions:

 the prior art cautioned against the use of EDTA in patients with impaired cardiac function. (Trial

 Tr. at 1566:11–1567:22 (Little)). For example, both parties’ experts agreed that this is disclosed

 in the HPE. (DTX-028 at Aur_Cle-0006965; Trial Tr. at 1333:7-20, 1334:14-18 (Crowley); Trial

 Tr. at 1566:11-1567:7 (Little)).       It is also taught in the ’356 Patent.         (DTX-320 at

 CHI_CLE_0000358 (“Based on the adverse effects of EDTA, particular care should be taken when

 administering EDTA to patients with renal impairment, liver toxicity, tuberculosis, and impaired

 cardiac function.”); Trial Tr. at 1567:11–25 (Little)).

        One of the attorneys that prosecuted the Patents in Suit before the Patent Office testified

 that “[p]articular care means that you should be careful” and because the ’356 Patent “talks about

 fatality, hypokalemia, so combining the reading, . . . that means you should not be administering

 EDTA.” (Trial Tr. at 875:7–16 (Tsevdos)). She went on to state that the ’356 Patent “says fatality.

 So [she’s] pretty sure that that is something that is to be taken into consideration.” (Trial Tr. at

 875:17-20 (Tsevdos); see also FoF ¶ 392). Again, Aurobindo relied upon this exact disclosure

 from the ’356 Patent to state to the Patent Office during prosecution of its own clevidipine patent

 application that “the use of EDTA in any such [clevidipine] formulation would be

 contraindicated.” (PTX-864.135; Trial Tr. at 1569:11–22 (Little)). Aurobindo similarly relied

 upon the Ebata prior art reference (DTX-314) (“Ebata”) in front of the Patent Office. Aurobindo

 stated that Ebata “caution[s] against the combination of EDTA . . . and a dihydropyridine calcium

 channel blocker such as clevidipine because both chelating agents and active drug regulate calcium

 ions. Thus, [as Aurobindo explained] “one skilled in the art would not have combined EDTA, or

 other chelating agents and clevidipine for administration to regulate blood pressure because of the

 uncertain interaction among them.” (PTX-864.136; Trial Tr. at 1569:11–22 (Little)). As with the



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 ’356 Patent, both the applicants of the Patents-in-Suit and Aurobindo relied upon Ebata before the

 USPTO to evidence the non-obviousness of EDTA with clevidipine. (Tr. at 1569:23-1570:2

 (Little)). Contrary to what it stated before the Patent Office, at trial Aurobindo cited to the HPE

 (which is also cited in the ’356 Patent) to suggest that it cautions against the administration of only

 disodium edetate, not all forms of EDTA. But the ’356 Patent, when citing to the Handbook, does

 not limit its disclosure to disodium edetate. Instead, it teaches against “administering EDTA . . .

 to patients with . . . impaired cardiac function.” (DTX-320 at 2:22–25). Prosecuting attorney

 Tsevdos testified that she agreed with the ’356 Patent’s interpretation of the Handbook, i.e., that it

 referred to all forms of EDTA generally. (Trial Tr. at 876:3–877:1 (Tsevdos)). Dr. Crowley

 conceded that such an understanding of the Handbook—that it applied to all forms of EDTA—

 was not unreasonable. (Trial Tr. at 1333:7–1336:4 (Crowley)).

        One of Aurobindo’s own product development scientists, who is also the lead inventor on

 the Aurobindo patent application, testified that he was aware of side effects, in particular

 cardiovascular side effects, when using EDTA in pharmaceutical formulations, without any

 limitation on the type of EDTA being used. (Trial Tr. at 261:24–262:3, 287:1–288:13, 289:19–

 290:11 (Barik)).

        Again, Chiesi says that contrary to what Aurobindo stated before the USPTO, Aurobindo

 argued at trial that the disclosure regarding cardiovascular side effects would not be applicable for

 clevidipine because clevidipine is indicated for hypertension, and hypertension is purportedly not

 equivalent to impaired cardiac function. But studies of clevidipine in patients who needed cardiac

 surgery formed part of the basis of Cleviprex’s FDA approval.             (Trial Tr. at 74:18–76:22

 (Zwinski); PTX-048.10, 14 (Improved Cleviprex Package Insert disclosure of Eclipse Study);

 PTX-053.9, 12 (Original Cleviprex Package Insert disclosure of Eclipse Study)). Dr. Crowley



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 agreed that a patient who needs cardiac surgery has impaired cardiac function. (Trial Tr. at

 1337:15–23 (Crowley)). Dr. Crowley also had no reason to disagree that impaired cardiac function

 is caused by a number of things, one of which is hypertension. (Tr. at 1338:4-8 (Crowley)). Dr.

 Little agreed with this fact as well. (Tr. at 1643:1-20 (Little)).

         Fourth, Chiesi contends that none of the references relied upon by Dr. Crowley at trial

 provided a motivation to use EDTA with clevidipine as an antimicrobial agent. They addressed

 each of the references in turn.

                                         (a)     Jones ‘520 Patent

         Chiesi observed that the Jones ’520 Patent was before the Patent Office during the

 prosecution of the Patents in Suit. (PTX-004.207-209 (’676 Patent File History); PTX-005.445-

 451 (’537 Patent File History); PTX-006.1093-1103 (’490 Patent File History)). Jones disclosed

 an intravenous propofol formulation containing 0.005% EDTA. (DTX-027 at claim 34; Trial Tr.

 at 1307:5–9 (Crowley)). During the prosecution of the ’537 Patent, the applicants also submitted

 other references disclosing propofol formulations with 0.005% EDTA: WO 01/89474 (PTX-

 005.227-243), WO 99/39696 (PTX-005.635-685), and WO 2004/010941 (PTX-005.765-836).

 (PTX-005.216-218; PTX-005.445-451). As such, Chiesi points out that the Examiner already

 considered propofol and EDTA- related prior art (including the Jones ’520 Patent specifically)

 during prosecution.

         Even setting aside the fact that the Examiner already considered Jones and references like

 it, Chiesi introduced evidence that the drugs are distinct. Unlike clevidipine, propofol is not a

 calcium channel blocker and, therefore, the combination of EDTA and propofol is not subject to

 the same safety concerns as the combination of EDTA and clevidipine. And, unlike clevidipine,

 propofol is not specifically intended for use in patients with high blood pressure and/or impaired

 cardiac function. It is used to for anesthesia and sedation in patients. (Trial Tr. at 1571:20–24
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 (Little); DTX-027 at 6:3–11). In short, propofol and clevidipine are two different drugs that are

 not even in the same therapeutic space. (Trial Tr. at 81:17–82:11 (Zwinski); Trial Tr. at 1571:20–

 24, 1588:17–1589:12 (Little); Trial Tr. at 768:4–17 (Williams); Trial Tr. at 817:4–16 (Ding); Tr.

 at 879:25-880:14 (Tsevdos)).

                                       (b)    Thompson

        According to Chiesi, Thompson teaches that the antimicrobial effectiveness of EDTA is

 “dependent on the bacteria as well as the medium involved.” (DTX-053 at Aur_Cle- 00116401;

 Trial Tr. at 1571:4–13 (Little)). For this reason, a POSA would not have thought that EDTA would

 have had the same antimicrobial properties regardless of the context of the composition in which

 it was included. (Trial Tr. at 1308:2-6, 1309:6-8 (Crowley); Trial Tr. at 1572:4–1573:4 (Little)).

 For example, although Dr. Crowley opined that Thompson taught that EDTA was effective against

 20 microorganisms, he admitted that this was “specific to the Diprivan composition.” (Trial Tr. at

 1309:6–8 (Crowley)). In short, neither Jones nor Thompson would have taught a POSA anything

 about EDTA’s antimicrobial effectiveness in the context of clevidipine.

                                       (c)    ICH Guidance

        To the extent Aurobindo intended to show otherwise, Chiesi maintains that the ICH

 Guidance (DTX-024), and its disclosure regarding ways to address specific objectionable bacteria,

 would not have motivated a POSA to add EDTA to clevidipine as an antimicrobial agent either.

 To that end, Dr. Little testified that “[t]he ICH Guidance, specifically Q6A here, is talking about

 harmonization of specifications for pharmaceutical products.” (Trial Tr. at 1573:5-22 (Little)).

 That is, the ICH Guidance talks about formulations “very generally”; it “does not specifically

 mention emulsion formulations as being the focus. It is not about clevidipine. It’s not about

 EDTA.” (Trial Tr. at 1573:20-1574:4 (Little)). “[M]ore importantly, when you go through and

 you look at the parts that talk about the objectionable bacteria [referenced by Dr. Crowley] that

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 you’re looking to determine, those are in the sections on oral dosage forms,” not injectables like

 those claimed in the Patents-in-Suit. (Trial Tr. at 1574:5–19 (Little); DTX-024 at Aur_Cle-

 0006930-6932). And while “[t]here is a section on injectables,” “[i]t doesn’t mention determining

 specific objectionable bacteria in that section.” (Trial Tr. at 1574:20-22 (Little); DTX-024 at Aur-

 Cle-0006935–6937).

                                       (d)     Chen

        Chiesi next disputes the applicability of United States Patent Application No.

 2005/0186230 to Andrew Chen (“Chen”) (DTX-023). Like Jones, Chen was before the Patent

 Office during prosecution of the Patents in Suit. (PTX-004.167-187 (’676 Patent File History);

 PTX-005.391-401 (’537 Patent File History); PTX-006.77-95 (’490 Patent File History)). As such,

 the Examiner already considered Chen. Again, even setting aside that fact, the formulations

 discussed in Chen are elemenes, which Dr. Little described as “a specific class of chemical

 compounds that are typically derived from plants” that were “being explored for anticancer

 treatment.” (Trial Tr. at 1575:7–17 (Little)). Chen “doesn’t mention clevidipine,” and while “[i]t

 does mention EDTA . . . it talks about EDTA to potentially prevent microbial growth, but there is

 no specific degree of microbial growth that’s discussed in [Chen] that is acceptable, and there is

 no data.” (Trial Tr. at 1575:18–22 (Little)). Consequently, Aurobindo says Chen “at best is similar

 to the propofol references, because it talks about EDTA being in there with a completely different

 drug,” and since there is no data, a POSA would not give Chen much, if any, weight. (Trial Tr. at

 1576:2–7 (Little)). Chiesi also noted that Dr. Crowley did not dispute this point.

                                       (e)     FDA Inactive Ingredient Database

        Chiesi elicited testimony from both parties’ experts that the FDA Inactive Ingredient

 Database does not identify EDTA’s function in the products it discloses. (Trial Tr. at 1277:5–18,

 1338:10-1339:3 (Crowley); Trial Tr. at 1578:25-1579:21 (Little)). In fact, Dr. Crowley expressly

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 clarified this point during his direct examination, testifying: “I should note the database doesn’t

 ascribe a functionality. So I don’t know if it was an antimicrobial in those 50 products. It could

 be there as an antioxidant to simply address oxidation reactions, for example. So I can’t ascribe

 functionality . . . .” (Trial Tr. at 1277:5-17 (Crowley); see also Trial Tr. at 1355:10-15 (Dr.

 Crowley testifying on redirect that EDTA has “long been used for their predominantly antioxidant

 properties” and as a chelator only, not also as an antimicrobial agent) (Crowley)). Dr. Little agreed

 that functions for EDTA other than as an antimicrobial agent were more likely. (Trial Tr. at

 1579:3–21 (“Again, EDTA is a very commonly used preservative for a completely different

 reason. So I don’t think that somebody looking at that list is going to look at it and think, okay,

 well, in each of those cases it’s being used as an antimicrobial resistance agent. It wouldn’t even

 make sense if that’s the case because when you look at some of those, there wouldn’t be a need

 for that.”) (Little)).

                                          (f)    Intralipid

         Other than Diprivan, Cheisi maintains that there is no evidence that any of the other

 products with Intralipid were formulated with EDTA, and other drugs listed on DDX-15 (in

 addition to Original Cleviprex) were formulated without EDTA after Diprivan+EDTA was

 approved in 1996. Thus, although Diprivan and Original Cleviprex were both formulated with

 Intralipid, this common feature would not have provided a reason for a POSA to add EDTA to

 clevidipine as an antimicrobial agent.

                                (2)       No Motivation to Include Oleic Acid

         Chiesi also disputes Aurobindo’s assertion that a POSA would have been motivated to add

 oleic acid in the claimed amount to clevidipine and EDTA as a stabilizing co-emulsifier and arrive

 at either of claim 7 of the ’537 Patent or claim 6 of the ’490. First, Dr. Crowley admitted on cross-

 examination that a POSA generally would not have expected instability in a clevidipine+EDTA

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 emulsion, largely because EDTA did not destabilize the Diprivan emulsion (Trial Tr. at 1343:23–

 1344:10 (Crowley)). Dr. Little cited the apparent inconsistency that if Dr. Crowley believed that

 as POSA “would know that it would be stable when you add [EDTA] to a formulation, then you

 wouldn’t need to add a co-emulsifier. It wouldn’t be something that you would think to add.”

 (Trial Tr. at 1580:3–315 (Little)).

        Second, the presence of soybean oil in Original Cleviprex would not have provided a

 motivation to choose oleic acid, given the many alternatives for stabilization. Chiesi accuses Dr.

 Crowley of using hindsight to focus solely on the oleic acid component of soybean oil instead of

 looking at the full field of potential co-emulsifiers, including palmitic acid and stearic acid, other

 components of soybean oil. According to Dr. Little, a POSA would not have focused on just oleic

 acid, but would have considered other co-emulsifiers as well (assuming a POSA even believed one

 was needed), because “[t]here are numerous other ways in which an oil-in-water emulsion could

 be stabilized.” (Trial Tr. at 1632:15–24 (Little)). Moreover, Dr. Little opined that a POSA would

 have understood that the oleic acid associated with soybean was a different form than what is

 claimed. It is generally understood that the oleic acid in soybean oil is esterified, not free oleic

 acid. Testimony from fact witnesses was consistent on this point. (Trial Tr. at 1009:4–14 (Ms.

 Caivano testifying that soybean oil contains esterified oleic acid); Trial Tr. at 150:15-151:2 (Dr.

 Motheram testifying in response to cross-examination that soybean oil contains oleic acid in the

 ester form)).

        Dr. Crowley relied upon various prior art to argue why a POSA would have purportedly

 been motivated to add oleic acid to clevidipine and EDTA as a stabilizing co-emulsifier. However,

 none of the references mention clevidipine or EDTA. (Trial Tr. at 1586:25–1587:11 (Little)). Dr.

 Little opined that “[j]ust because you have something [i.e., oleic acid] that works in another



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 formulation you wouldn’t assume that it would work in a clevidipine formulation with EDTA.”

 (Tr. at 1587:12-17 (Little)). As support, Dr. Little cited a finding from the European Patent Office

 that Chiesi introduced from a related patent application that the “solution [of adding oleic acid]

 could not be derived and extrapolated from documents of the prior art which, while disclosing

 oleic acid, either they don’t comprise an active agent or if, yes, it’s a totally different drug.” (Trial

 Tr. at 1587:18-1588:14 (Little)).

         Finally, Chiesi points out that two of the references cited by Dr. Crowley, Yamaguchi and

 Levy (DTX-041), were already considered by the Patent Office during prosecution of the Patents

 in Suit. (PTX-005.2545 (’537 Patent File History, citing Yamaguchi); PTX-006.1070 (’490 Patent

 File History, citing Yamaguchi and Levy); see also Tr. at 1295:24–1296:9 (Crowley)). In fact, the

 applicants overcame a rejection based on alleged oleic acid prior art during prosecution. (PTX-

 006.1525-1532, 1880-1881 (’490 Patent File History)).

                           d)       No Reasonable Expectation of Success

         For similar reasons to why it believes a POSA would not be motivated to arrive at the

 claimed inventions, Chiesi contends a POSA would not have a reasonable expectation of success

 in doing so.15 There was no evidence in the prior art that EDTA would work as an antimicrobial

 agent with clevidipine. Neither Jones ‘520 nor Thompson disclosed clevidipine and EDTA

 together.    These references involved propofol rather than clevidipine.                    Chiesi argues that

 Aurobindo failed to explain how their teachings would apply to clevidipine, particularly given that

 Dr. Crowley admitted that that there were many variables that could affect microbial growth in a

 pharmaceutical formulation, and that he was not asked to provide opinions about the possible




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    More accurately, Chiesi asserts that Aurobindo failed to show that either the prior art would motivate a POSA to
 arrive at that claimed inventions or provide a POSA with a reasonable expectation of success in doing so.

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 sources of microbial contamination in this case. 16 (Trial Tr. at 1349:5-22 (Crowley)). He also

 admitted that a POSA, reviewing the references, would not have thought that adding EDTA to

 Original Cleviprex would adversely affect the stability of the emulsion. (Trial Tr. at 1253:20–

 1254:6, 1343:11–21 (Crowley)). Chiesi maintains that the FDA Briefing Document could not

 have provided a reasonable expectation of success because it was an internal confidential

 document, drafted by the inventors in hindsight after invention. Chiesi repeats similar arguments

 with respect to the addition of oleic acid.

                           e)       No Evidence of Secondary Considerations

           The Court notes that the parties introduced no evidence at trial of the presence or absence

 of secondary considerations that might support the nonobviousness of the claimed inventions.

                           Findings as to the Scope and Content of the Prior Art

           The Court has already found that the date of invention of the Patents in Suit occurred no

 later than April 1, 2009. In this section, the Court discusses the key prior art references in this

 matter.

                           a)       Original Cleviprex

           At the time of inventions, Original Cleviprex had been recently approved in December

 2008 and constituted prior art. It contained the same active ingredient and many of the same

 excipients as the claimed inventions. See PTX-053 (Original Cleviprex Package Insert, dated

 2008)). It did not, however, contain EDTA or oleic acid. Id.




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   Chiesi separately asserts Aurobindo erred with respect to claim 8 of the ‘676 Patent and claim 6 of the ‘490
 Patent. For a prior art teaching of the 24-hour microbial resistance limitation of those claims, Aurobindo relies on
 Jones ’520 Patent, but Jones does not disclose that level of microbial resistance, even for propofol. (Trial Tr. at
 1310:11-1311:17 (Crowley) (admitting on cross examination that Jones provided testing and data for only “four, not
 the five,” standard USP microorganisms discussed in the Patents-in- Suit and that he “misspoke” when he testified
 otherwise)).

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                        b)     The FDA Briefing Document and Product Development Section of
                        the Improved Cleviprex sNDA

        The FDA Briefing Document and Product Development section of the Improved Cleviprex

 sNDA were filed with the FDA in support of the application for its approval. Chiesi asserts that

 the documents were confidential, and no evidence has been presented to indicate that they were

 either published or “known” by others in the United States. They are therefore, as Chiesi argues,

 not prior art. See, e.g., Onyx Therapeutics, Inc. v. Cipla Ltd., Civ. No. 16-988, 2020 WL 2214443,

 at *20 (D. Del. May 4, 2020) (holding that a patentee’s NDA is a confidential document that does

 not constitute prior art); Asterias Biotherapeutics, Inc. v. Viacyte, Inc., Civ. No. 12-04813, 2014

 WL 93903, at *7 (N.D. Cal. Jan. 9, 2014) (holding that the patentee’s internal, “confidential

 information is not relevant to the knowledge of a person of ordinary skill in the art”)). Still,

 Aurobindo asserts at various points in its post-trial briefing that statements made by the inventors

 in these documents remain relevant as admissions with respect to the motivation and reasonable

 expectation of success a POSA might have had in arriving at the claimed invention. For example,

 Aurobindo argues that:

                548. Here, all the claims being asserted by Chiesi against
                Aurobindo are obvious based on the prior art of record along with
                the admissions as to the knowledge of a POSA in the FDA Briefing
                Document, the Product Development section of the NDA, the
                specification of the patents, and the file histories.

                652. The FDA Briefing Document (PTX-0069) and the Product
                Development section of the NDA for reformulated Cleviprex®
                (PTX-800) contain admissions as to the understanding of a POSA
                in relation to the common use of both EDTA as an antimicrobial
                agent in oil-in-water emulsions, and oleic acid as a stabilizer in such
                injectable oil-in water emulsions at the time the Briefing Document
                was drafted which would have to been before April 1, 2009.

 (Aurobindo Proposed Findings of Fact and Conclusions of Law, ¶¶ 548, 652). Aurobindo proffers

 no authority to support its attempt to apply statements from these confidential documents in this


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 manner. As pointed out by Chiesi, at least one court has concluded this would be improper. See

 Cephalon Inc. v. Slayback Pharma Ltd., 456 F. Supp. 3d 594, 612 (D. Del. 2020); aff’d 856 F.

 App’x 309 (Fed. Cir. 2021) (Declining to rely on FDA submissions, in part because “conclusions

 drawn from a patentee’s disclosures to the FDA risk being distorted by hind-sight bias.”) This is

 consistent with the uniform recognition that viewing an invention from an inventor’s perspective

 is impermissible hindsight. See Otsuka, 678 F.3d at 1296 (“The inventor’s own path itself never

 leads to a conclusion of obviousness; that is hindsight. What matters is the path that the [POSA]

 would have followed, as evidenced by the pertinent prior art.”); see also Life Techs., 224 F.3d at

 1325 (“[T]he path that leads an inventor to the invention is expressly made irrelevant to

 patentability by statute.”). As the party seeking to establish invalidity, it was Aurobindo’s burden

 to articulate a basis for applying the regulatory documents in the way that it seeks. Insofar as it

 failed to do so, and because the Court finds that it would invite improper hindsight, the Court

 declines to consider Aurobindo’s arguments that rely upon the FDA Briefing Document or the

 Improved Cleviprex Product Development Report. 17

                            c)       The Jones ‘520 Patent

          The Jones ‘520 Patent was issued on February 3, 1998. (DTX-027) It was considered by

 the Patent Office during the prosecution of the Patents in Suit.                        It disclosed “a sterile

 pharmaceutical composition for parenteral administration which comprises an oil-in-water

 emulsion in which propofol… is emulsified with water and stabilized by means of a surfactant,

 and further comprises an amount of edetate sufficient to prevent significant growth of


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    The Court notes a superficial asymmetry in the law in this respect. An ANDA applicant’s product development
 report—while not prior art because it too is confidential—is sometimes cited by plaintiffs for evidence of admissions
 with respect to secondary considerations under the Graham factual inquiries, such as commercial success or failure
 of others. The relevant distinction between citing a product development report from an NDA and one from an ANDA
 is essentially the same one the Court relies upon here: risk of hindsight. It is the inventors (or others working in
 conjunction with the inventors) who prepare an NDA development report to summarize their invention. Using that
 report as part of an obviousness analysis is applying hindsight, which is impermissible.

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 microorganisms for at least 24 hours.” (DTX-027 4:38–44). It described the most preferable

 amount of EDTA for its formulation as 1.5 x 10-4 moles/liter, which corresponds to 0.005% w/v

 EDTA in the pharmaceutical formulation of propofol. (DTX-027 5:5–7). It also noted that “EDTA

 is not regarded as a broad spectrum antimicrobial agent.” (DTX-027 at 4:22–37; Trial Tr. at

 1310:11-21 (Crowley); Trial Tr. at 1562:25–1563:17 (Little)).

                       d)     Thompson

          “The Recent Development of Propofol (Diprivan®)” by Karen A. Thompson and David

 Goodale was published in 2000. (DTX-053). It is prior art that was not considered by the Patent

 Office during the prosecution of the Patents in Suit. Thompson described the development of

 Diprivan and the investigation of the additive EDTA as an antimicrobial to an oil-in-water

 emulsion of propofol. (DTX-053 Aur_Cle-00116400). In this regard it is comparable to the Jones

 ‘520 Patent. Thompson noted that clusters of infections were observed with original Diprivan and

 the CDC implicated “extrinsic microbial contamination of propofol through improper use of the

 drug.”    An additive was therefore sought with “the ability to suppress the growth of

 microorganisms after extrinsic contamination without compromising the clinical efficacy of the

 propofol emulsion.” It also observed that the FDA “required that the chosen additive be capable

 of retarding the growth of microorganisms to not greater than 10-fold within 24 hours after

 extrinsic microbial contamination equivalent to ‘touch contamination.’” It disclosed that EDTA

 met the requirements and had itself been previously used clinically in an aqueous intravenous

 solution to treat other conditions. It stated that, as an additive in a number of pharmaceutical

 products and at 0.005% concentration in the propofol emulsion, EDTA was found to be effective

 against 20 microorganisms, although it also disclosed that EDTA “should not be considered a

 complete antimicrobial agent because its action is dependent on the bacterium as well as the

 medium involved.”
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                        e)      The Oleic Acid References: Yamaguchi, Levy

        “Physicochemical Characterization of Parenteral Lipid Emulsion: Influence of

 Cosurfactants on Flocculation and Coalescence” by Yamaguchi (“Yamaguchi”) was published in

 1995. (PTX.0069.161–165). “Characterization of diazepam submicron emulsion interface: role

 of oleic acid” by Levy (“Levy”) was published in 1994. Both of these references are prior art.

 Yamaguchi studied the use of co-surfactants to stabilize lipid emulsions, albeit without active

 pharmaceutical ingredients. It disclosed that oleic acid had been observed to stabilize lipid

 emulsions by preventing flocculation and coalescence. Levy disclosed the use of oleic acid to

 stabilize a diazepam emulsion and discussed the effect of oleic acid on the emulsion’s zeta

 potential to do so.    Both of these references were considered by the Patent Office during

 prosecution of the Patents in Suit.

                        Findings as to the Differences Between the Claims and the Prior art

        Aurobindo contends the prior art above renders the claimed inventions obvious. The main

 prior references pertain to: Original Cleviprex without either EDTA or oleic acid; use of EDTA

 in emulsions (ones that do not contain clevidipine); and use of oleic acid as a co-surfactant in

 emulsions (that also do not contain clevidipine). Aurobindo asserts that a POSA, considering these

 references and other art in the record in combination, would have been motivated to arrive at the

 claimed inventions with a reasonable expectation of success. Chiesi counters that the references

 would not motivate a POSA, that Aurobindo’s obviousness defense is based on impermissible

 hindsight, and that a POSA would not have had a reasonable expectation of success.

                                (1)   A POSA Would Not Have Been Motivated to Arrive at the
                                Claimed Inventions

        To begin, it is undisputed in this case that formulating oil-in-water emulsions is a complex

 and unpredictable science. Aurobindo expressly admitted as much in its July 2021 statements to


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 the Patent Office while prosecuting its own patent application directed to a clevidipine+EDTA

 product.    (PTX-864.134 (Aurobindo asserting to the USPTO that “[oil-in-water] emulsion and

 emulsion products are very complex from formulation and stability perspective and not very

 predictable,” and that the “[p]resent composition is not ordinary parenteral composition but it is

 O/W emulsion and emulsion products are very complex from formulation and stability

 perspective”); Trial Tr. at 1376:6–17 (Akhave) (confirming same)). The Federal Circuit has held

 that “evidence showing unpredictability in the art” suggests “that one of ordinary skill would not

 have been motivated to combine the references with a reasonable expectation of success.”

 Honeywell Int’l Inc. v. Mexichem Amanco Holding S.A. DE C.V., 865 F.3d 1348, 1354 (Fed. Cir.

 2017).

          Against that backdrop, the Court rejects Aurobindo’s argument that a POSA would have

 appreciated that the Original Cleviprex formulation posed a problem to be addressed. In relevant

 part, Aurobindo attempts to rely upon the Background of Invention section of the patents in suit,

 which states:

                 Accordingly, there exists a need for a stable clevidipine emulsion
                 formulation that is resistant to microbial growth, thereby
                 diminishing the risk of microbial contamination in patients and
                 providing greater ease in handling. Such a formulation would also
                 result in cost savings to the health care providers and patients in
                 decreasing the wastage of clevidipine and reducing the time-
                 consuming efforts involved with manipulation and replacement of
                 vials containing the drug.

 (‘676 Patent 1:48–55). It is true that statements in a Background of Invention section that

 recognize a pre-existing motivation in the art can be deemed admissions by the inventors. See,

 e.g., Medpointe Healthcare Inc. v. Hi-Tech Pharmacal Co., 115 F. App'x 76, 80 (Fed. Cir. 2004)

 (“[T]he inventors . . . admitted in the Background of Invention section of their patent that at the

 time of invention it was at least somewhat accepted that ‘[a]ntitussives, antihistamines, and


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 decongestants in the form of their tannate salts are very desirable because such salts are generally

 stable and may be combined in such form without any untoward side effects.’ . . . This statement

 from the . . . patent appears to acknowledge the presence of an existing motivation to undertake

 the salt conversion that the district court evidently deemed missing from the record evidence.”) In

 this case, however, the Court interprets the inventors’ statements in their Background of Invention

 section as articulating their own motivation for pursuing the invention rather than acknowledging

 a known, existing motivation in the art. The Court therefore finds that this portion of the

 Background of Invention section does not represent an admission by the inventors and that

 applying their statements would therefore constitute impermissible hindsight.

        The Court also finds that a POSA would not have been motivated to modify Original

 Cleviprex based on the prior art’s teachings with respect to Diprivan (propofol), as Aurobindo

 claims. First, as the parties’ experts agreed at trial, a preservative was added to original Diprivan

 to address infections that had been reported by clinicians. However, as the parties’ experts also

 agreed, there were no similar reports made with respect to Original Cleviprex. Second, the

 modifications to Diprivan were made over a decade earlier. Had Diprivan presented the sort of

 broad motivation to modify emulsions as Aurobindo claims, it follows that it would have motivated

 the inclusion of EDTA in Original Cleviprex. Third, the Patent Office already considered—and

 issued the asserted claims over—the Jones ‘520 Patent and its disclosure of Diprivan emulsions

 containing EDTA, reducing the persuasive weight the Court assigns Jones’s teachings. Fourth,

 the Court credits the unrebutted and thorough testimony of Dr. Little, together with statements

 from both the Jones and Thompson references, to the effect that a POSA would not have looked

 to EDTA as a preservative because it was not known at the time to be a particularly good

 antimicrobial agent.   (Trial Tr. at 1550:19–1551:9 (Little); 1562:11–24 (same), 1551:10-13



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 (EDTA “was specifically taught to not be a broad-spectrum antimicrobial agent and it was

 specifically taught to be used with other [antimicrobial agents], not by itself.”) (Little)); see also

 (DTX-027 at 4:22-37; Tr. at 1310:11-21 (Crowley); Tr. at 1562:25–1563:17 (Little); (DTX-053 at

 Aur_Cle-00116401; Tr. at 1310:3-10 (Crowley); Tr. at 1562:25-1563:3, 1563:8-24 (Little)).

 Testimony from Dr. Crowley supports the notion that a POSA would not have looked to EDTA

 insofar as he conceded that effectiveness against a wide spectrum of bacteria would have been a

 “major criteria” for a POSA’s selection. (Trial Tr. at 1307:21–1308:1 (Crowley)).

         For these reasons, the Court finds that Aurobindo has not demonstrated by clear and

 convincing evidence that a POSA would have been motivated to add EDTA to clevidipine as an

 antimicrobial agent. The Court concludes on this basis that the asserted claims, each of which

 incorporate an EDTA limitation, are not obvious over the cited prior art. 18

         G.       Unenforceability

         In support of its unenforceability arguments, Aurobindo proffered as an expert at trial Dr.

 Dr. Nancy Linck, Ph.D., J.D. Dr. Linck is an adjunct law professor at University of San Diego

 and a former Solicitor for the Patent Office and former administrative patent judge. Prior to that,

 she prosecuted patent applications before the Patent Office for several years as both a private

 practitioner with a firm and as in-house counsel for Monsanto. Since 2016, she has been the

 principal of NJ Linck Consulting, frequently providing testimony with respect to inequitable

 conduct. Dr. Linck was accepted by the Court as an expert in procedure and practice with the

 Patent Office. In rebuttal, Chiesi presented Robert L. Stoll, J.D. Mr. Stoll was the former




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    Given its conclusion with respect to the lack Aurobindo’s evidence of a motivation to add EDTA, the Court does
 not consider the remaining disputed limitations of the asserted claims, e.g, the concentration of the EDTA, or the
 inclusion, and concentration, of oleic acid. The Court also does not reach Chiesi’s arguments that a POSA would not
 be motivated to add EDTA because it is contraindicated for use in combination with clevidipine as a calcium channel
 blocker.

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 Commission of Patents at the Patent Office, where he worked for 29 years, including as a patent

 examiner for 12 years. (Trial Tr. 1437:4–25 (Stoll)). He is currently a partner at Faegre Drinker

 Biddle & Reath LLP where he serves as deputy chair of the intellectual property group. (Trial Tr.

 1440:8–14 (Stoll)). The Court accepted Mr. Stoll as an expert in the field of Patent Office practice

 and procedure. (Trial Tr. 1441:11–21). Chiesi also offered technical testimony from Dr. Little in

 support of its rebuttal.

                            Inequitable Conduct/Unclean Hands 19

          Under its Rules, the Patent Office imposes a duty to disclose information material to

 patentability. 37 C.F.R. § 1.56. The duty applies to “[e]ach individual associated with the filing

 and prosecution of a patent application.” Id. More specifically, the duty falls upon “[e]ach

 inventor named in the application,” “[e]ach attorney or agent who prepares or prosecutes the

 application,” as well as “[e]very other person who is substantively involved in the preparation or

 prosecution of the application and who is associated with the inventor, the applicant, an assignee,

 or anyone to whom there is an obligation to assign the application.” Id. at § 1.56(c).

          Inequitable conduct is an equitable defense to patent infringement. Therasense Inc. v.

 Becton, Dickinson & Co., 649 F.3d 1276, 1285 (Fed. Cir. 2011) (en banc). The Federal Circuit

 has set a very high bar for the accused infringer who seeks to defend against a charge of patent

 infringement based on inequitable conduct: “[t]o prove inequitable conduct, [it] must show by

 clear and convincing evidence that the patent applicant (1) misrepresented or omitted information

 material to patentability, and (2) did so with specific intent to mislead or deceive the PTO.” In re




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   Plaintiff filed two motions pertaining to unenforceability that the parties agreed in a subsequent letter submission
 (ECF No. 376) had been rendered moot: Plaintiff’s Bench Brief Regarding Attorneys Accused of Misconduct (ECF
 No. 309) and Plaintiff’s Motion to Preclude Inequitable Conduct Allegations (ECF No. 310). The Court will therefore
 deny these motions as moot.

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 Rosuvastatin Calcium Patent Litig., 703 F.3d 511, 519 (Fed. Cir. 2012) (citing Therasense, 649

 F.3d at 1287. “Materiality and intent must be separately established.” Id.

        The materiality required to establish inequitable conduct is “but-for” materiality.

 Therasense, 649 F.3d. at 1287. But-for materiality is established if the Patent Office would not

 have issued the claim but for the omitted or misrepresented information. Aventis Pharma S.A. v.

 Hospira, Inc., 675 F.3d 1324, 1334 (Fed. Cir. 2012) (quoting Therasense, 649 F.3d at 1291). A

 reference is not “but-for” material if it is “merely cumulative” to information already considered

 by the examiner. Larson Mfg. Co. of S. Dakota v. Aluminart Prod. Ltd., 559 F.3d 1317, 1327 (Fed.

 Cir. 2009). A reference is cumulative when it “teaches no more than what a reasonable examiner

 would consider to be taught by the prior art already before the PTO.” Regents of the Univ. of

 California v. Eli Lilly & Co., 119 F.3d 1559, 1574–75 (Fed. Cir. 1997). Accordingly, under Rule

 1.56, the Patent Office relieves an applicant of the duty to disclose prior art that is merely

 cumulative to art already before the Patent Office. See 37 C.F.R. § 1.56(b).

        An exception to the but-for materiality requirement exists for affirmative egregious

 misconduct materiality” requirement, examples of which include extreme misdeeds, such as filing

 unmistakably false affidavits, suborning perjury, bribing witnesses, and actively suppressing

 evidence. Therasense, 649 F.3d at 1292–93. This exception deals with “deliberately planned and

 carefully executed schemes to defraud the PTO and the courts.” Id. at 1292 (citation and internal

 quotation marks omitted).

        To establish specific intent to deceive the Patent Office, “clear and convincing evidence

 must show that the applicant made a deliberate decision to withhold a known material reference.”

 Id. at 1290. The party asserting must prove by clear and convincing evidence that the accused: (1)

 knew of the information, (2) knew that it was material, and then (3) made a deliberate decision to



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 withhold it. Id. Mere failure to disclose material information—even if tantamount to gross

 negligence—is insufficient. Id. (citing Kingsdown Med. Cons., Ltd. v. Hollister Inc., 863 F.2d

 867, 876 (Fed. Cir. 1988)). “Proving that the applicant knew of a reference, should have known of

 its materiality, and decided not to submit it to the PTO does not prove specific intent to deceive.”

 Id. (citation omitted).

         Deceptive intent can be inferred from circumstantial evidence, but to meet the clear and

 convincing evidence standard, the “inference must not only be based on sufficient evidence and

 be reasonable in light of that evidence, but it must also be the single most reasonable inference

 able to be drawn from the evidence.” Star Sci., Inc. v. R.J. Reynolds Tobacco Co., 537 F.3d 1357,

 1366 (Fed. Cir. 2008). “[T]he evidence must be sufficient to require a finding of deceitful intent

 in the light of all the circumstances.” Therasense, 649 F.3d at 1290 (citation and quotation marks

 omitted). “Hence, when there are multiple reasonable inferences that may be drawn, intent to

 deceive cannot be found.” Id. at 1290–91 (citation omitted).

                           a)   Aurobindo’s Evidence and Arguments

         In a nutshell, Aurobindo first argues that inequitable conduct was perpetrated when the

 inventors argued to the FDA in 2009 that adding EDTA and oleic acid to Original Cleviprex would

 be safe, but later argued to the Patent Office from 2010–2013 that a POSA would consider it

 unsafe. Specifically, a portion of the FDA Briefing Document devoted to the description of the

 CMC development activities for Improved Cleviprex included the following section:

                 4.2 IDENTIFICATION OF PRESERVATIVE CANDIDATES

                 As a first step, the scientific literature was reviewed and potential
                 preservatives were assessed against the following criteria:
                         • Safety
                         • Preservative effectiveness
                         • Use in approved injectable products for intravenous
                         administration


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                      • Preservative physicochemical stability under alkaline
                      conditions
                      • Potential impact on emulsion and drug substance
                      physicochemical stability
               As a result of these considerations, disodium edetate, benzyl
               alcohol, sodium citrate and sodium ascorbate were selected as
               candidates for initial screening and evaluation.

 (FDA Briefing Document at 14, PTX-0069.14). In a later section of the same document titled

 “Safety of Proposed Product,” it made the following relevant representations:

               5.1 SAFETY OF 0.03% ADDITIONAL OLEIC ACID AND
                   0.005% EDTA
               …
               EDTA is also a commonly used pharmaceutical excipient and is
               generally recognized as safe. From the perspective of IV
               administration, literature reviews were conducted as part of
               MDCO's comprehensive nonclinical and clinical safety assessments
               of EDTA as a preservative for use in Cleviprex at the level of
               0.005%.

               The nonclinical safety assessment concludes that “Based on
               available nonclinical and clinical data, safety margins for human
               exposure to EDTA at doses and dose rates associated with clinical
               administration of the [new] preserved IV formulation of clevidipine
               are large, typically 100- to over 1000-fold.”, and that 0.005% EDTA
               in Cleviprex poses no safety risk to humans [Final Nonclinical Study
               Report. Duddy SK, 2009].

               This finding is consistent with the clinical literature which indicates
               that EDTA, administered intravenously as Calcium Disodium
               Versenate (for the treatment of lead intoxication) can be safely
               administered to adult and pediatric patients using doses up to 1000
               mg/m2/day for 5 days.

               More relevant comparisons include the use of EDTA (0.005%) to
               retard microbial growth in intravenous propofol, which is a lipid-
               based emulsion vehicle. The propofol literature includes multiple
               references describing EDTA as having no effect or no significant
               effect in critically ill adult or pediatric patients [Abraham et al, 2000;
               Barr et al, 2000; Cohen et al, 2001; Herr et al, 2000; Wahr et al,
               2000]. Additional information supporting this position includes the
               FDA's reviews of US NDA 19-627/S-027 [NDA 19-627/S-027,
               2006] in which reviewers concluded that 0.005% EDTA had no
               effect or no meaningful effect on propofol safety or
               pharmacokinetics.
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               5.2 SAFETY OF PROPOSED DRUG PRODUCT
               Collectively, the addition of 0.03% oleic acid and 0.005% EDTA
               poses no new safety risks.

 (FDA Briefing Document at 30, PTX-0069.30).

        Aurobindo observed that FDA Briefing Document also included an external report from

 Dr. Steven Duddy, titled “Review of Nonclinical Data and Safety Assessment of EDTA as a

 Preservative in Intravenous Formulations of Clevidipine.” (PTX-0069.64–78.) Dr. Duddy was a

 “safety pharmacology consultant” who conducted “an extensive literature review.” (Trial Tr.

 763:7–8,17–21 (Williams)). In the course of describing the purpose for preparing his report, Dr.,

 he makes the following statement:

               Since there are approved IV products containing similar or higher
               concentrations of EDTA that are safely used in clinical practice, no
               issues are anticipated. However, adverse events associated with IV
               administration of very high doses of EDTA are well documented,
               and occur primarily in the context of chelation therapy for metal
               intoxication or hypercalcemia. Such instances of EDTA toxicity are
               due principally to induction of hypocalcemia and, presumptively, to
               disruption of trace metal homeostasis due to the higher relative
               affinity of EDTA for metals such as zinc (Zn) than sodium (Na) or
               calcium (Ca).

 (Duddy Report at 4–5, PTX0069.67–68).

        Dr. Duddy ultimately concluded his report as follows:

               Based on available nonclinical and clinical data, safety margins for
               human exposure to EDTA at doses and dose rates associated with
               clinical administration of the preserved IV formulation of
               clevidipine are large, typically 100- to over 1000-fold. Thus, the
               proposed clinical uses of the preserved formulation of clevidipine
               would not be expected to result in adverse effects.

 (Duddy Report at 13, PTX-0069.76). According to Aurobindo, these statements in the FDA

 Briefing Document and the Duddy Report were made to the FDA in order to obtain approval of




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 Improved Cleviprex via sNDA and thereby avoid running clinical trials. (Trial Tr. 1050:3–9

 (Linck)).

        Aurobindo contrasts these representations to the FDA with positions taken before the

 Patent Office while prosecuting the applications for the Patents in Suit beginning 18 months later.

 To begin, Aurobindo claims the arguments themselves were inconsistent. Moreover, it says, none

 of the five references FDA propofol references—Abraham et al, 2000; Barr et al, 2000; Cohen et

 al, 2001; Herr et al, 2000; Wahr et al, 2000—cited in the FDA Briefing document were submitted

 to the Patent Office when the initial provisional patent application was filed. Nor were they shared

 at various points in the prosecution of the Patents in Suit when Aurobindo says the inventors made

 contradictory arguments to the Patent Office that EDTA was taught away from use in intravenous

 preparations (Prosecution of the ‘667 Patent, PTX-0004.334) and that a POSA would be taught

 away from the combination of EDTA with clevidipine because it was a calcium channel blocker

 (Prosecution of the ‘537 Patent, PTX-0005.380). Aurobindo observed that the record showed that

 the inventors did, however, submit various references in support of their positions, notably the

 Cumberland Pharmaceutical citizen petition that sought to stop generic manufacturers from

 making the original product on the basis that EDTA was removed for safety reasons. (PTX-

 0004.334). The petition was supplied even though it had already been denied by the FDA on the

 basis that EDTA use in propofol had been shown to be safe. (Trial Tr. 1111:2–1112:2 (Linck)).

 A Bayer Leukine reference was also provided to the Patent Office for a teaching away from use of

 EDTA in intravenous preparations. (PTX-0004.334).

                               (1)     Materiality

        In summary fashion, Dr. Linck opined that the actions above were material to patentability

 insofar as a reasonable examiner assigned to the ‘537 and ‘676 patents would not have allowed the

 patents to issue but-for the inconsistent arguments made to the Patent Office and the withheld
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 references. (Trial Tr. 1125:2–18 (Linck)). Aurobindo did not provide testimony from a technical

 expert in support of its but-for materiality assertions.

                                     (2)      Specific Intent

          With respect to the specific intent to deceive element of inequitable conduct Aurobindo

 introduced no direct evidence. Rather, it cited to the conduct above as what it characterizes as a

 multiplicity of mis-actions in this case that indicate suspiciously selective memories of Dr.

 Motheram, Dr. Williams, the in-house attorney and multiple outside prosecuting counsel. 20

 Aurobindo urges that under these circumstances, the single most reasonable inference to be drawn

 from the evidence is a specific intent to deceive the Patent Office by the inventors and their in-

 house counsel.

                            b)       Chiesi’s Evidence and Arguments

          At trial, Chiesi advanced four reasons why Aurobindo’s inequitable conduct accusations

 fail for lack of materiality: (1) Chiesi placed all of Aurobindo’s allegations and the underlying

 references before the Examiner during prosecution of the ‘490 Patent and the Examiner issued the

 ‘490 Patent, indicating that the arguments and undisclosed references are not material; (2)

 interpreted properly, the statements made to the Patent Office and the FDA were not actually

 inconsistent; (3) other information about the safety of EDTA and clevidipine was before the Patent

 Office during prosecution of the ‘676 and ‘537 Patents; and (4) Aurobindo’s own statements to

 the Patent Office while prosecuting its own patent application contradict its inequitable conduct

 allegations here.




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   The Court notes that Aurobindo explicitly stated at trial that it was making “no accusations against the lawyers. We
 are saying that… what actions they did is attributable to the applicant because they were acting on behalf of the
 applicants.” (Trial Tr. 469:9–12 (Moore)).

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                                 (1)     Allowance of the ‘490 Patent

         Chiesi introduced evidence showing that the FDA Submissions, as well as Aurobindo’s

 inequitable conduct allegations concerning them, were considered by the Patent Examiner (who

 was the same Examiner that reviewed the ’676 Patent), who then allowed the claims of the ’490

 Patent over that information. (Trial Tr. at 1443:20–1444:1 (Stoll); PTX-006.1450-2004)). The

 same Examiner examined both the ‘676 Patent and the ‘490 Patent. (Tr. at 1443:15-19 (Stoll)).

 Mr. Stoll opined that the claims allowed in the ‘490 Patent are similar to the other Patents in Suit

 insofar as all of them related to clevidipine with EDTA and oleic acid. (Trial Tr. 1443:23–1444:12

 (Stoll)). According to Stoll, this is further supported by the Examiner’s own finding that the claims

 are sufficiently similar as to be patentably indistinct. (Trial Tr. at 1444:2-1445:6 (Stoll); see, e.g.,

 PTX-0006.1428-1432).

         Chiesi recounted in detail how it disclosed the inequitable conduct allegations to the Patent

 Office. In May 2021, the applicants of the ’490 Patent submitted to the Examiner the parties’

 pleadings from this litigation which detailed Aurobindo’s bases for its inequitable conduct and

 unclean hands claims, including with respect to the FDA Submissions for the ’676 and ’537

 Patents. The applicants also submitted to the Examiner through IDS submissions on May 4 and

 May 5, 2021 the FDA Briefing Document (including the Duddy Report), the Duddy Report

 separately, and the FDA Propofol References. (Trial Tr. at 1445:8–1447:20 (Stoll); PTX-

 0006.1450-1498, 0006.1533-1535, 0006.1720-1723, 0006.1901-1902, 0006.1897-1898).

         The Examiner reviewed and considered the documents submitted with the May 4 and 5

 IDS submissions as evidenced by the electronic signature in those documents as provided for by

 MPEP § 609. (Trial Tr. at 1446:20-1447:20 (Stoll); Trial Tr. at 1139:24-1140:5 (Linck); PTX-

 0006.1901-1902, 0006.1897-1898, see also MPEP § 609.01 (“[I]nserting on each page of reference

 citations the phrase ‘All references considered except where lined through’ along withthe
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 examiner’s electronic initials.”)). Pursuant to MPEP § 609.05(b), the Examiner’s electronic

 signature provided in accordance with MPEP § 609.01 “provides a clear record of which citations

 have been considered by the [USPTO].” Dr. Linck admitted that under Patent Office practice and

 procedure, an examiner’s electronic initials or signature on an IDS creates a presumption that the

 references listed have been reviewed by the Examiner. (Tr. at 1139:3–1140:5 (Linck)).

        When providing to the Examiner the FDA Submissions and Aurobindo’s corresponding

 inequitable conduct and unclean hands allegations, the applicants’ attorney specifically drew the

 Examiner’s attention to Aurobindo’s claims asserted against Plaintiffs in this litigation. (Trial Tr.

 at 1445:22-1446:19 (Stoll); PTX-0006.1525-1526; 0006.1450-1498 (Exhibit 1)). During an

 interview on May 27, 2021, the applicants’ attorney discussed the present litigation concerning the

 validity of the parent patents (i.e., ’676 and ’537 Patents) and the FDA Briefing Documents. The

 Examiner stated that he would review the IDS submissions filed on May 4 and 5. (Tr. at 1447:21-

 1448:17 (Stoll); PTX-0006.1878). On May 6, 2021, the Examiner signed the May 4 and 5 IDS

 submissions, indicating that the references listed therein had been reviewed and considered. (PTX-

 006.1896–1898; PTX-006.1901–1902; Trial Tr. at 1447:7–20 (Stoll); Trial Tr. at 1139:24–1140:5

 (Linck)). On June 4, 2021, the Examiner issued a Notice of Allowance for the claims of the ’490

 Patent. (PTX-0006.1880-1888). In the Notice of Allowance, the Examiner stated that he “re-

 weighed all the evidence of record.” (PTX-0006.1886). Mr. Stoll testified that “re-weighed all the

 evidence of record” means that the Examiner “looked at all of the different office actions that had

 occurred, all of the arguments, all of the references, and determined that the claims were still

 patentable.” (Tr. at 1449:1-9 (Stoll)). Dr. Linck agreed, testifying that she “ha[d] no reason to

 doubt that [the Examiner] reviewed all the evidence” before issuing the June 4 Notice of

 Allowance. (Trial Tr. at 1143:18-1144:13 (Linck)).



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        Mr. Stoll opined that the issuance of the June 4 Notice of Allowance by Examiner Arnold

 demonstrated that the FDA Submissions were not “but-for” material to the patentability of the

 claims of the ’490 Patent, and accordingly, were not “but-for” material to the patentability of the

 related claims of the ’676 and ’537 Patents. (Trial Tr. at 1449:10–13 (Stoll)).

        On June 11, 2021, applicants’ attorney submitted another IDS to the Examiner that

 disclosed Aurobindo’s revised inequitable conduct and unclean hands allegations, which included

 the original allegations concerning the FDA Submissions as well as new allegations pertaining to

 the prosecution of the ’490 Patent (i.e., regarding infectious unenforceability, the Motheram

 Declaration, and the Caivano Declaration). (Trial Tr. at 1449:14–1450:5 (Stoll); Trial Tr. at

 1144:14–1146:2 (Linck); PTX-006.1944–1962).           The revised allegations submitted to the

 Examiner during the prosecution of the ’490 Patent contained allegations corresponding to Counts

 III.A-F and Count IV in the September 13 Answer. (PTX-0006.1916-1972). The Examiner

 considered that information and again allowed the claims of the ’490 Patent, stating that the June

 11 submission “did not change the previous determination of patentability.” (PTX-006.2000;

 006.2004; Tr. at 1450:6-19 (Stoll)). Again, Dr. Linck did not have any reason to doubt the

 Examiner’s conclusion in response to the June 11 submission. (Trial Tr. at 1146:22–1147:11

 (Linck)).

        For these reasons, Chiesi asserts that the fact that the Examiner of the ʼ490 Patent found

 that the submitted information had no impact on the patentability of the claims of the ʼ490 Patent,

 therefore demonstrates that it is not “butfor” material to the patentability of the ʼ676 and ʼ537

 Patents.

                               (2)     Statements to FDA and the Patent Office Were Consistent

        Chiesi separately maintains that statements made to the Patent Office and FDA regarding

 the use of EDTA with clevidipine are actually consistent given that they were made to the two
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 agencies concerning two different timeframes and perspectives. Mr. Stoll testified that, under

 Patent Office practice and procedure, the statements made to the Patent Office were related to the

 legal standards for patentability (i.e., what was known at the time of invention to a POSA), while

 the statements made to the FDA were made after the invention and with knowledge of all of the

 development work that went into Improved Cleviprex. (Tr. at 1458:5-1459:17 (Stoll)). Dr. Little

 offered consistent testimony. (Tr. at 1600:9–1601:24 (Little)).

        According to Chiesi, the prosecution histories of the ’676 and ’537 Patents demonstrate

 that statements made to the USPTO were made from the perspective of a POSA at the time the

 invention was made. For example, during the prosecution of the ’676 and ’537 Patents, the

 applicants stated in a response to an office action that “at the time the invention was made,” a

 POSA would not have considered EDTA to be an ideal choice to use in formulation with

 clevidipine (a calcium channel blocker) “because of its potential effects on emulsion stability and

 particularly because of its role on chelating calcium ions.” (PTX-0004.278; PTX0004.281; PTX-

 0005.205-06; Tr. at 1548:14-19 (Little); Tr. at 1458:23-1459:11 (Stoll)). Later in that same

 document, the applicants pointed to prior art references (i.e., Ebata, Luchoski, and Ptasienski) in

 support of their position regarding what one skilled in the art at the time of invention would think,

 stating that: These references taken together caution against the combination of EDTA, or other

 chelating agents, and a dihydropyridine calcium channel blocker because both chelating agents

 and active drugs regulate calcium ions. Thus, one skilled in the art would not have combined

 EDTA, or other chelating agents, and clevidipine for administration to regulate blood pressure

 because of the uncertain interactions among them. (PTX-004.278-79; PTX-005.205-06). Dr.

 Motheram testified that the concern he had when developing the new formulation with clevidipine

 (i.e., at the time of the invention), as a formulator, was the reaction between EDTA (a chelating



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 agent) and clevidipine (a calcium channel blocker). (Tr. at 111:11-112:1 (Motheram)). He said he

 explained this concern from a formulation perspective to the Examiner during the prosecution of

 the ’676 Patent. (Trial Tr. at 140:20-24 (Motheram)). He indicated that he even had that concern

 with formulations he worked on containing propofol—contemporaneous with the filing date of the

 ’676 and ’537 Patents. (Tr. at 112:2-115:11 (Motheram); PTX-802 at 5:67-6:3, 1:51-56; PTX-803

 at 2:24-37). Chiesi cites Aurobindo’s technical expert, Dr. Crowley, who credited Dr. Motheram’s

 concern by testifying that “I don’t think that’s an unreasonable concern. And I heard Dr. Motheram

 state that, and I take him at his word.” (Tr. at 1333:7-1336:4 (Crowley)). Dr. Little further

 elaborated on how the potential safety issues with EDTA would have been a concern to a POSA.

 (Trial Tr. at 1566:4–1568:7; PTX-071.4; PTX-181.2 (Little)). 21

          Chiesi contends that the applicants’ arguments to the Patent Office were made from the

 perspective of a POSA at the time of invention and who, critically, would not have had knowledge

 of the invention. (Trial Tr. at 1458:5-1459:17 (Stoll); Tr. at 1600:9-1602:24 (Little)). Dr. Little

 testified that, without knowledge of the invention, a POSA would not have had all the information

 about the formulation being claimed. A POSA would not have known what the final formulation

 would be or whether it would be safe, effective, stable and/or work in the way it needs to. (Tr. at

 1600:9-1602:24 (Little)). In short, the statements made in the FDA Briefing Document (and in

 the Duddy Report) were made with knowledge of the invention, after it had already been made.

          In Dr. Little’s view, Aurobindo’s argument is also incorrectly based upon the position that

 the FDA Briefing Document does not contain any non-public information and testing data for




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    In fact, as discussed further, infra, Aurobindo expressed these same safety concerns with EDTA to the Patent Office
 during prosecution of its own clevidipine, EDTA, and oleic acid patent application. (Tr. at 1568:8-1570:2 (Little);
 PTX-819.3; PTX-864.135-136). Moreover, Aurobindo’s own scientist, who is also the lead inventor on the Aurobindo
 patent application, conceded that he was aware of side effects, in particular cardiovascular side effects, when using
 EDTA in pharmaceutical formulations. (Trial Tr. at 261:24-262:3, 287:1-288:13, 289:19-290:11 (Barik)).

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 Improved Cleviprex. (Trial Tr. at 1598:5-1599:11 (Little)). The FDA Briefing Document includes

 information regarding the proposed formulation of Improved Cleviprex with EDTA and oleic acid,

 administration information, manufacturing information, as well as visual appearance testing,

 stability testing, and microbial resistance testing data for Improved Cleviprex. (Tr. at 1597:3-20,

 1598:5-1599:11 (Little); PTX-0069.14-31)). Table 6 of the FDA Briefing Document also includes

 the proposed formulation for Improved Cleviprex, specifying the exact amounts of EDTA and

 oleic acid used in the proposed formulation. (PTX-0069.23). Neither Dr. Linck, nor Dr. Crowley,

 testified about this information disclosed in the FDA Briefing Document. Section 5 of the FDA

 Briefing Document discussed information relevant to the safety of the specific Improved Cleviprex

 and its dosing. The FDA Briefing Document further included a request for a bioequivalence

 waiver. (Trial Tr. at 1597:3-20 (Little); PTX-0069.14-31)). As Aurobindo’s witness agreed, a

 biowaiver “refers to an instance in which the FDA allows the [] applicant to submit dissolution

 and/or disintegration data, in lieu of performing a bioequivalence study, in order to demonstrate

 bioequivalence of its [] product.” (Trial Tr. at 567:7- 568:6 (Ghan)). Therefore, the request for a

 biowaiver does not relate to the safety of the product.

        Chiesi disputed Aurobindo’s and Dr. Linck’s assertions that the safety conclusions set forth

 in Section 5 of the FDA Briefing Document, and the statements therein that rely on the Duddy

 Report, are contradictory to the arguments made to the USPTO. (Tr. at 1060:11-24; 1061:14-

 1065:9 (Linck)). According to Chiesi, the FDA Briefing Document and the Duddy Report are not

 prior art, and Aurobindo admits this. Instead, as Dr. Linck testified, the corroborated date of

 invention is April 1, 2009, and the Duddy Report itself corroborates this date. (Tr. at 1135:5-

 1136:13 (Linck)). She also testified that, by the time of the Duddy Report, a formulation

 containing clevidipine, EDTA, and oleic acid was in existence. Id. Dr. Little agreed. (Tr. at 1597:3-



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 1599:14 (Little)). Dr. Motheram and Dr. Williams also confirmed that Improved Cleviprex had

 been formulated and made by the time of the FDA Briefing Document, including the Duddy

 Report. (Tr. at 125:13-126:20 (Motheram); Tr. at 779:15-19 (Williams)). In addition, the analysis

 from the Duddy Report does not appear anywhere in the prior art, and neither of Aurobindo’s

 experts (Drs. Linck or Crowley) did the analysis that Dr. Duddy conducted based on what was

 available in the prior art. (Tr. at 1599:23-1600:8 (Little)).

        Chiesi notes that other statements in the Duddy Report to the FDA are consistent with the

 statements made by applicants to the Patent Office. Similar to the statements made to the Patent

 Office, the Duddy Report also expressly states that there was a general concern with EDTA

 toxicity: “Such instances of EDTA toxicity are due principally to induction of hypocalcemia . . . .”

 (PTX-0069.68; Trial Tr. at 784:3-785:7 (Williams)).

                                (3)     The Applicants Put Other Information About the Safety of
                                EDTA and Clevidipine Before the Patent Office During Prosecution
                                of the ‘676 and ‘537 Patents

        As a separate point, Chiesi argued that information about the safety of EDTA with

 clevidipine after the time of invention was disclosed to the Patent Office during the prosecution of

 the ’676 and ’537 Patents. For example, during prosecution of the ’676 Patent, in-house counsel

 and Dr. Motheram together identified the Improved Cleviprex 2011 package insert to the Examiner

 and discussed the history of selecting an antimicrobial agent in clevidipine compositions with the

 Examiners at an interview held on June 20, 2013.                (PTX-004.205; Tr. at 129:21-131:10

 (Motheram); Tr. at 1149:7-12, 1150:14-22; 1151:9-11 (Linck)). The Improved Cleviprex 2011

 package insert was submitted to the Examiners in both the prosecutions of the ’676 and ’537

 Patents in Information Disclosure Statements. (PTX-004.318; PTX-005.404; PTX-004.241-257;

 PTX-005.326-342). The Examiner in each instance signed the IDS, indicating that the references

 were considered and reviewed. (; Tr. at 1457:1-3 (Stoll); Tr. at 1139:24-1140:5, 1149:3-6 (Linck)).
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 The Improved Cleviprex 2011 package insert illustrates that the Improved Cleviprex formulation

 with EDTA was safe and FDA-approved. (PTX-005.326-342; Tr. at 1456:12-25 (Stoll); Tr. at

 1602:6-1603:8 (Little)). The FDA approval letter for Improved Cleviprex was also submitted

 during the prosecution of the ’537 Patent. (PTX-005.404; PTX-005.362-64; Tr. at 1457:22-25

 (Stoll)). The Examiner signed the IDS with that letter indicating that he considered and reviewed

 it. The letter request for a bioequivalence waiver for Improved Cleviprex was also submitted

 during the prosecution of the ’537 Patent. (PTX-005.2429-2431). The Examiner signed the IDS

 with that letter indicating that he considered and reviewed it. (PTX-005.2545). Chiesi cites this as

 an indication that the applicants and their attorneys were forthright with the Patent Office regarding

 the safety of the use of EDTA and clevidipine in Improved Cleviprex, and that the Patent Office

 had considered and reviewed the information during the prosecution of the ’676 and ’537 Patents.

                                (4)   Aurobindo’s Own Statements to the Patent Office While
                                Prosecuting Its Own Patent Application Contradict Its Inequitable
                                Conduct Allegations in this Case

           In an unlikely turn of events, Chiesi introduced evidence that Aurobindo itself told the

 Patent Office that the amount of EDTA in Improved Cleviprex was unsafe when applying for its

 patent, but then told the FDA that the amount of EDTA in its ANDA Products was safe based on

 a biowaiver using Improved Cleviprex as the comparator. (Trial Tr. at 1603:11-1606:10 (Little)).

 In fact, Aurobindo based the purported novelty of its patent application on the same safety concerns

 with the combination of EDTA and clevidipine due to EDTA’s chelating effect and potential

 contraindication with clevidipine—even after the issuance of the ’676 and ’537 Patents and after

 the FDA approved Improved Cleviprex. (Tr. 1568:12-1569:10, 1603:11-1604:16 (Little); PTX-

 819.3; PTX-864.135-136). In its U.S. patent application published on October 8, 2020, Aurobindo

 states:



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                Intravenous formulations using disodium EDTA can lead to [a]
                decline in concentration of calcium . . . . A rapid decline in blood
                calcium can lead tomuscle spasm. It can cause severe hypocalcemia,
                brachiopods, bronchial spasms, seizures and even apnea. Effects on
                the cardiovascular system. . . can occur in severe ventricular
                fibrillation.

                Hence, there is still a need to design pharmaceutical composition[s]
                of clevidipine that have prolonged stability, efficacy and reduced
                side effects. Inventors of the present invention have endeavored to
                develop such formulations that are also economical and
                commercially viable while having none or lower concentration of
                antimicrobial agent [EDTA]. . . .

 (PTX-819.3). Thus, even in 2017 (when Aurobindo’s patent application was filed), Aurobindo

 argued to the Patent Office that the art taught away from using of EDTA in combination with

 clevidipine due to EDTA’s calcium reduction effect and effect on the cardiovascular system. This

 is both after the inventions in the Patents in Suit were made and after the approval of Improved

 Cleviprex by the FDA. (Trial Tr. at 1568:8-1569:10 (Little)).

        Aurobindo repeated its arguments when the USPTO rejected its application, and again

 asserted teaching away arguments based on EDTA in an August 10, 2021 submission (dated July

 28 2021) while this suit was pending. Those arguments are the same ones that Aurobindo alleges

 in this case were intentionally misleading when made by the applicants during prosecution of the

 ’676 and ’537 Patents. (Trial Tr. 1569:11-1570:2, 1603:22-1604:16 (Little); Tr. at 1375:1-1377:14

 (Akhave)). In its post-trial submissions, Chiesi submitted a side-by-side comparison of examples

 that the Court duplicates below.




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      Chiesi USPTO Arguments Accused of                        Arguments Aurobindo and
      Inequitable Conduct in this Litigation              Mr. Jay Akhave Made to Patent Office

    “[Ebata, Ptasienski, and Luchoski] taken            “Ebata et al., suggests caution against the
    together caution against the combination of         combination of EDTA, or other chelating
    EDTA, or other chelating agents, and a              agents, and a dihydropyridine calcium
    dihydropyridine calcium channel blocker             channel blocker such as clevidipine because
    because both chelating agents and active            both chelating agents and active drug regulate
    drugs regulate calcium ions.                        calcium ions.
    Thus, one of skill in the art would not have        Thus, one skilled in the art would not have
    combined EDTA, or other chelating agents,           combined EDTA, or other chelating agents
    and clevidipine for administration to               and clevidipine for administration to regulate
    regulate blood pressure because of the              blood pressure because of the uncertain
    uncertain interactions among them.’” PTX-           interaction among them.” PTX-864.136.
    004.279; Tr. at 1082:21-1083:24 (Linck).

    “Applicant is providing US Patent                   “It is mentioned in the literature (US8148356;
    8,148,356 for the examiner’s review. In             Column 2, line 22-35; see below) that,
    there, particularly, at column 2, line 23-25,       intravenous drugs with EDTA should be used
    the reference importantly indicates that            with special care to patients with ‘renal
    intravenous drugs with EDTA should not be           impairment, liver toxicity, tuberculosis and
    administered to patients with ‘renal                impaired cardiac function.’
    impairment, liver toxicity, tuberculosis and
    impaired, cardiac function.’                        Clevidipine is used when a patient has
                                                        impaired cardiac function (Reduction in
    Clevidipine is used when a patient has
                                                        Blood pressure), and as such, the use of
    impaired cardiac function, and as such, the
                                                        EDTA in any such formulation would be
    use of EDTA in any such formulation would
                                                        contraindicated.” PTX-864.135.
    be contraindicated.” PTX-004.334; Tr. at
    1158:5-17, 1161:4-6 (Linck).



 (Chiesi PFOF ¶ 454).       By way of summary on this issue, Chiesi elicited testimony from

 Aurobindo’s own technical expert on the nature of Aurobindo’s inconsistent representations to the

 Patent Office, stating that “I want the record to state I didn’t know about it. I had nothing to do

 with it. And it’s indefensible.” (Trial Tr. 1336:6–1337:13 (Crowley)).

                       c)      Findings as to But-for Materiality

        Having reviewed the extensive record before it, and for the reasons set forth below, the

 Court finds that Aurobindo failed to prove that the applicants misrepresented or omitted


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 information to the USPTO during the prosecution of the ’676 and ’537 Patents that was “but-for”

 material to the patentability of those patents.

        Dr. Linck opined only summarily that the conduct presented by Aurobindo was but-for

 material. In contrast, the Examiner’s allowance of the ‘490 Patent claims is compelling evidence

 that the information Aurobindo cites here is not material at all, much less but-for material. It is

 clear from the record that the Chiesi made every effort to disclose Aurobindo’s allegations and the

 FDA submissions and that Examiner reviewed them. Dr. Linck’s attempt to distinguish the

 prosecution of the ‘490 Patent was credibly rebutted by Mr. Stoll’s emphasis as to the significance

 of an Examiner’s acknowledgement of his review of the prior art together with the Examiner’s

 own explicit statement that he had “re-weighed all the evidence of record” as part of his review.

 Dr. Linck conceded that she had no reason to doubt the Examiner’s review. Likewise, the Court

 found credible Mr. Stoll’s opinion (corroborated by the Examiner’s observation) that the claims of

 the ‘490 Patent and the claims of the other Patents in Suit are sufficiently similar to make relevant

 the Examiner’s conclusion regarding the patentability of the 490 Patent.

        For these reasons the Court finds that Aurobindo has failed to demonstrate that the

 arguments made during prosecution of ’676 and ’537 Patents, or the references not disclosed, are




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 but-for material. 22 In light of its finding with respect to materiality, the Court concludes that

 Aurobindo has failed to establish inequitable conduct or unclean hands on that basis. 23

 VI.      CONCLUSION

          For the reasons set forth above, the Court concludes that: the Patents in Suit are infringed;

 the Patents in Suit are not invalid; and the Patents in Suit are not unenforceable. An appropriate

 Order will follow.



 Date: August 16, 2022

                                                                 s/ Zahid N. Quraishi
                                                                 ZAHID N. QURAISHI
                                                                 UNITED STATES DISTRICT JUDGE




 22
    Chiesi also filed a Motion to Dismiss Aurobindo’s Counterclaim III (Declaratory Judgment of Unenforceability
 based on Inequitable Conduct) and Counterclaim IV (Declaratory Judgment of Unenforceability based on Unclean
 Hands and to Partially Strike Aurobindo’s Second Affirmative Defense (Invalidity/Unenforceability). (ECF No. 167).
 The parties submitted briefs at ECF Nos. 168, 176, and 178. Given that the Motion was briefed shortly before trial,
 the Court reserved its decision for trial. As a preliminary matter, the Court notes that a portion of the Motion to
 Dismiss is moot insofar as it pertained to Aurobindo’s allegation that Chiesi submitted an inaccurate translation to the
 Patent Office of a German fact sheet for Lipvenoes® 20%, and Aurobindo appears to have waived its position by
 introducing no evidence on that issue at trial. The remainder of Chiesi’s Motion to Dismiss is premised on the notion
 that the Examiner’s decision to issue the ‘490 Patent after reviewing Aurobindo’s accusations of inequitable conduct
 meant that Aurobindo’s position could not meet the required but-for standard for materiality. Having the reviewed
 the parties’ briefs and Aurobindo’s relevant pleadings, the Court agrees that Aurobindo’s pleadings are scant. Still,
 the Court declines to grant Chiesi’s motion to dismiss in favor of considering the trial record, particularly the parties’
 respective evidence with regard to how close the claims of the ‘490 Patent are to the claims of the ‘676 and ‘537 Patent
 and therefore the relevance of the Examiner’s decision to issue the ‘490 Patent.
 23
    Given its conclusion as to materiality, the Court does not reach Aurobindo’s showing regarding specific intent to
 deceive the Patent Office beyond recognizing that Aurobindo introduced no direct evidence of such intent. For the
 same reason, the Court denies as moot Chiesi’s motion seeking to preclude demonstratives and testimony from Dr.
 Linck as to legal conclusions or specific intent of individuals or institutions. (ECF No. 320). For the same reason
 again, the Court also denies as moot the applicable portion of Chiesi’s motion (ECF No. 341) seeking to strike Dr.
 Linck’s testimony.

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